                                                               1                                                              3
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    1           IN THE UNITED STATES DISTRICT COURT                 1   APPEARANCES:
    2           FOR THE SOUTHERN DISTRICT OF FLORIDA                2   FOR PETITIONER:
    3                       MIAMI DIVISION                          3             BARET LAW GROUP
                                                                                  By: ELAN I. BARET, ESQ.
    4   _____________________________________                       4             3999 Sheridan Street
                                             )                                    Suite 200
    5   FARHAD AZIMA,                        )                      5             Hollywood, Florida 33021
                                             )                                    (954) 486-9966
    6                       Petitioner,      )                      6             elan@baretlawgroup.com
                                             )
    7   vs.                                  ) Case No.:            7
                                             ) 1:22-MC-20707
    8   INSIGHT ANALYSIS AND RESEARCH LLC    )                      8   FOR RESPONDENTS:
        AND SDC-GADOT LLC,                   )
    9                                        )                      9             MILLER & CHEVALIER CHARTERED
                            Respondents.     )                                    By: KIRBY D. BEHRE, ESQ.
   10   _____________________________________)                     10                  IAN A. HERBERT, ESQ.
                                                                                  900 16th Street N.W.
   11                                                              11             Black Lives Matter Plaza
                                                                                  Washington, D.C. 20006
   12                                                              12             (202) 626-5800
                                                                                  kbehre@milchev.com
   13                                                              13             iherbert@milchev.com
   14            Videotaped 30(b)(6) Deposition of                 14
                                                                                  BURLINGTONS LEGAL, LLP
   15            INSIGHT ANALYSIS AND RESEARCH LLC                 15             By: DOMINIC HOLDEN
                                                                                  5 Stratford Place
   16       by and through its Corporate Representative            16             London, W1C 1AX
                                                                                  +44 20 7529 5420
   17                         AMIT FORLIT                          17             dominic.holden@burlingtons.legal
   18                   Thursday, July 21, 2022                    18
   19             11:07 a.m. Israel Daylight Time                  19
   20                                                              20
   21                                                              21
   22                                                              22
   23                                                              23
   24                                                              24
   25   Reported by: BRENDA MATZOV, CSR NO. 9243                   25
                     JULY 21, 2022 - AMIT FORLIT                                     JULY 21, 2022 - AMIT FORLIT
             30(B)(6) INSIGHT ANALYSIS AND RESEARCH LLC                      30(B)(6) INSIGHT ANALYSIS AND RESEARCH LLC


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    1             Videoconference 30(b)(6) deposition               1   APPEARANCES (Continued):
    2   of INSIGHT ANALYSIS AND RESEARCH LLC, by and                2   ALSO PRESENT (in Israel):
    3   through its Corporate Representative, AMIT                  3             MITCHELL COOPERSMITH, Videographer
    4   FORLIT, taken in the above-entitled cause                   4             HAYA SHAVIT-KEDAR, Hebrew Interpreter
    5   pending in the United States District Court,                5             RUCHIE AVITAL, Hebrew Interpreter
    6   for the Southern District of Florida, Miami                 6
    7   Division, before BRENDA MATZOV, CSR NO. 9243,               7   ALSO PRESENT (remotely via Zoom):
    8   at the David Intercontinental Hotel, Tel Aviv,              8             LESLEY SEMONES, Miller & Chevalier
    9   Israel, and simultaneously in the Zoom                      9             FREDERICK WILMOT-SMITH, Burlingtons Legal
   10   participants' remote locations, on Thursday,               10             LUKE HACKETT, Burlingtons Legal
   11   the 21st day of July, 2022, at 11:07 a.m.                  11             FARHAD AZIMA
   12   Israel Daylight Time.                                      12
   13                                                              13
   14                                                              14
   15                                                              15
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                     JULY 21, 2022 - AMIT FORLIT                                     JULY 21, 2022 - AMIT FORLIT
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    1                           I N D E X                               1                   THURSDAY, JULY 21, 2022
    2   WITNESS                                                         2             11:07 A.M. ISRAEL DAYLIGHT TIME
    3   Amit Forlit                                                     3
    4   (Witness Location: Tel Aviv, Israel)                            4             THE VIDEOGRAPHER: Today's date is
    5                                                                   5   July 21st, 2022. And the time on the video
    6   EXAMINATION                                         PAGE        6   monitor is 11:07 a.m.
    7   By Mr. Behre                                           9        7             This is the videotaped deposition
    8   By Mr. Baret                                         129        8   of Amit Forlit, in the matter of Farhad
    9                                                                   9   Azima versus Insight Analysis and Research
   10                        E X H I B I T S                           10   LLC and SDC-Gadot LLC, being heard in the
   11   NUMBER           DESCRIPTION                      MARKED       11   United States District Court, Southern
   12   Exhibit 1        Multiple Invoices from                        12   District of Florida, Case No. 1:22-MC-20707.
                         SDC-Gadot LLC to Page
   13                    Group ME Ltd. and Page                        13             The videotaped deposition is taking
                         Risk Management DMCC,
   14                    Multiple Dates                                14   place in Tel Aviv, Israel, as well as parties
                         (Provided by Amit Forlit)
   15                    (No Bates Number)                    13       15   are attending remotely.
   16   Exhibit 2        Multiple Invoices from                        16             Would the counsel present -- present
                         Insight Analysis and
   17                    Research LLC to Page                          17   in Tel Aviv please voice-identify themselves
                         Group ME Ltd., PGME,
   18                    and Page Risk Management                      18   and whom they represent.
                         DMCC, Multiple Dates
   19                    (Provided by Amit Forlit)                     19             MR. BEHRE: Kirby Behre, on behalf
                         (No Bates Number)                    15
   20                                                                  20   of Mr. Azima.
        Exhibit 3        Document Entitled
   21                    "Electronic Articles of                       21             MR. BARET: Elan Baret, on behalf
                         Organization for Florida
   22                    Limited Liability Company,"                   22   of Insight and Gadot SDC.
                         for Insight Analysis and
   23                    Research LLC, Date Filed                      23             MR. HERBERT: Ian Herbert, on
                         October 18, 2017, and
   24                    Related Documents                             24   behalf of Farhad Azima.
                         (No Bates Number)                    52
   25                                                                  25             MR. HOLDEN: Dominic Holden, on
                     JULY 21, 2022 - AMIT FORLIT                                         JULY 21, 2022 - AMIT FORLIT
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    1                        E X H I B I T S                            1   behalf of Farhad Azima.
    2   NUMBER           DESCRIPTION                      MARKED        2             THE VIDEOGRAPHER: Will the court
    3   Exhibit 4        Document Entitled                              3   reporter please affirm the interpreters and
                         "Business Resolution or
    4                    Authorization for Opening                      4   the witness.
                         and Maintaining Banking
    5                    Relationship," Dated                           5
                         October 30, 2017
    6                    (BANA_Azima000284 to 000288)         61        6                      HAYA SHAVIT-KEDAR
    7   Exhibit 5        Multiple Bank of America                       7                              and
                         Statements for Insight
    8                    Analysis and Research LLC,                     8                       RUCHIE AVITAL,
                         Multiple Dates
    9                    (BANA_Azima000222 to 000283                    9             the interpreters, were duly affirmed
                         and BANA_Azima000001 to 000182)      63
   10                                                                  10             to translate from English to Hebrew
        Exhibit 6        Document Entitled
   11                    "Project Beech - Financial                    11             and from Hebrew to English.
                         Investigation Report #1,"
   12                    Dated March 13, 2016                          12
                         (No Bates Number)                   101
   13                                                                  13             (The following proceedings were
        Exhibit 7        Multiple Invoices from
   14                    Insight Analysis and                          14        conducted through the interpreters,
                         Research LLC to Page
   15                    Group ME Ltd., PGME,                          15        unless otherwise indicated, and
                         and Page Risk Management
   16                    DMCC, Multiple Dates                          16        excluding colloquy.)
                         (No Bates Number)                   120
   17                                                                  17
   18                                                                  18             THE COURT REPORTER: I will ask
   19                                                                  19   counsel to please stipulate that, in lieu
   20             Q U E S T I O N S I N S T R U C T E D                20   of formally swearing in the witness, the
   21                    N O T T O A N S W E R                         21   reporter will instead ask the witness to
   22                            (None.)                               22   acknowledge that their testimony will be
   23                                                                  23   true under the penalties of perjury, that
   24                                                                  24   counsel will not object to the admissibility
   25                                                                  25   of the transcript based on proceeding in
                     JULY 21, 2022 - AMIT FORLIT                                         JULY 21, 2022 - AMIT FORLIT
             30(B)(6) INSIGHT ANALYSIS AND RESEARCH LLC                          30(B)(6) INSIGHT ANALYSIS AND RESEARCH LLC
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    1   this way, and that the witness has verified                1           Q.   And that is a Florida corporation;
    2   that he is Amit Forlit.                                    2   correct?
    3                Counsel, do you agree?                        3           A.   Yes.
    4                MR. BEHRE: Yes.                               4           Q.   Yesterday you testified on behalf
    5                MR. BARET: Agreed.                            5   of SDC-Gadot; correct?
    6                THE COURT REPORTER: Mr. Forlit,               6           A.   Yes.
    7   do you hereby acknowledge that your testimony              7           Q.   (Partially translated.) And the
    8   will be true under the penalties of perjury                8   "SDC" in that name refers to "safe data
    9   and do you affirm that the testimony you are               9   control"; correct?
   10   about to give in this deposition will be the              10                THE INTERPRETER: Say that again.
   11   truth, the whole truth, and nothing but the               11                THE COURT REPORTER: "Safe -- safe
   12   truth?                                                    12   data" --
   13                THE WITNESS: Yes.                            13                THE WITNESS: (In English.) "Safe
   14                                                             14   data" --
   15                          AMIT FORLIT,                       15                THE COURT REPORTER: -- "control."
   16                called as a witness, was examined            16                THE WITNESS: (In English.)
   17                and testified under penalty of               17   -- "control."
   18                perjury as hereinafter set forth.            18                (Remainder of pending question
   19                                                             19           translated.)
   20                          EXAMINATION                        20                THE WITNESS: Apparently, yes.
   21   BY MR. BEHRE:                                             21   You just reminded me of it.
   22           Q.   Good morning, Mr. Forlit.                    22   BY MR. BEHRE:
   23           A.   Good morning.                                23           Q.   Now, since your testimony last
   24           Q.   Would you please state your full             24   night, other than with counsel, have you
   25   name for the record?                                      25   had any discussions about your testimony?
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                                                             10                                                             12


    1           A.   Amit Forlit.                                  1           A.   I spoke with my -- members of
    2           Q.   Have you ever used any other name             2   my family about it.
    3   besides Amit Forlit?                                       3           Q.   And by that, do you mean your
    4           A.   In my former years of service in              4   wife?
    5   the Israeli secret service, I had a nickname.              5           A.   Yes.
    6           Q.   And what was that nickname?                   6           Q.   Your son?
    7           A.   Omer.                                         7           A.   Also, yes.
    8                THE INTERPRETER: Omer?                        8           Q.   Anyone else?
    9                THE WITNESS: (In English.) Captain            9           A.   Not that I recall. No.
   10   Omer.                                                     10           Q.   Did you talk with anyone about
   11                THE INTERPRETER: "Omer."                     11   SDC-Gadot?
   12   BY MR. BEHRE:                                             12           A.   I spoke -- I spoke about the process.
   13           Q.   Could you spell that?                        13   So I assume we may have mentioned SDC-Gadot.
   14           A.   (In English.) O-m-e-r.                       14   I spoke about my experience.
   15                (Translated.) O-m-e-r.                       15           Q.   And other than your family, did you
   16           Q.   And what does that stand for, if             16   talk to anybody else about SDC-Gadot?
   17   anything?                                                 17           A.   Yes. I also spoke to Omri. I asked
   18           A.   It's a nickname. No, just a nickname.        18   him to prepare for me the invoices.
   19           Q.   Other than that nickname, have you           19           Q.   Okay. And those -- by "invoices,"
   20   ever used any other name, first and/or last?              20   you're talking about the SDC-Gadot invoices
   21           A.   No.                                          21   we discussed yesterday?
   22           Q.   You are here today as the corporate          22           A.   Yes.
   23   representative for Insight Analysis and                   23           Q.   And did you bring those with you
   24   Research LLC; correct?                                    24   today?
   25           A.   Yes.                                         25           A.   Yes.
                        JULY 21, 2022 - AMIT FORLIT                                    JULY 21, 2022 - AMIT FORLIT
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    1         Q.     And how many invoices were you able            1   documents overnight?
    2   to locate?                                                  2        A.     The -- the invoices of Insight
    3         A.     I'm counting. Eight.                           3   LLC [sic] in regards to the Beech Project.
    4                MR. BEHRE: Okay. And could we mark             4        Q.     And did you bring those with you
    5   this as an exhibit, please.                                 5   today?
    6                THE COURT REPORTER: He's got the               6        A.     Yes.
    7   stickers. I don't know what number you want.                7        Q.     And how many of those are there?
    8                MR. HERBERT: Start at 1?                       8        A.     I'll count them. I think -- I
    9                MR. BEHRE: I guess it's 1. You                 9   believe 19. But I'll check. 18.
   10   want to put it on the document, not on the                 10               MR. BEHRE: And can we mark that
   11   plastic.                                                   11   as Exhibit No. 2.
   12                THE COURT REPORTER: It's okay.                12               (Exhibit 2 marked.)
   13   I'll put it --                                             13   BY MR. BEHRE:
   14                MR. HERBERT: No, I can --                     14        Q.     I'm showing you what's been marked
   15                THE COURT REPORTER: Thanks.                   15   as Exhibit No. 2.
   16                Might as well staple it too.                  16               Are these the invoices you were
   17                MR. BEHRE: Let me just jot down               17   able to locate overnight regarding Insight?
   18   what the dates are and the invoice number.                 18        A.     (Examining.) Yes.
   19   You need to mark it, the number.                           19        Q.     Did you obtain those from Mr. Gur
   20                MR. HERBERT: Oh, sorry.                       20   Lavie as well?
   21                (Exhibit 1 marked.)                           21        A.     Yes.
   22   BY MR. BEHRE:                                              22        Q.     Other than the invoices, what else
   23         Q.     Now I'm showing you what we've                23   did you discuss with Mr. Gur Lavie overnight?
   24   marked as Exhibit No. 1.                                   24        A.     Only the issue of money transfers
   25                Those are the invoices you brought            25   and the invoices.
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                                                              14                                                          16


    1   today that you were able to locate overnight                1        Q.     And what did you discuss regarding
    2   regarding SDC-Gadot; correct?                               2   money transfers?
    3         A.     (Examining.) Yes.                              3        A.     I asked -- I requested him to
    4         Q.     And who -- who located these for you?          4   provide all the invoices that pertain to
    5         A.     My financial person, Omri.                     5   Project Beech.
    6         Q.     Omri Gur Lavie?                                6        Q.     Well, you referenced a discussion
    7         A.     Yes.                                           7   about money transfers.
    8                MR. BEHRE: Do you want the spelling            8               What did that concern?
    9   of that?                                                    9        A.     The invoice is against a transfer
   10                THE COURT REPORTER: I think we have           10   of fund [sic]. That was what I meant.
   11   it.                                                        11        Q.     And did Mr. Gur Lavie confirm
   12   BY MR. BEHRE:                                              12   that, for each invoice, there was, in
   13         Q.     And are these all the invoices he             13   fact, a payment received?
   14   was able to find?                                          14        A.     I -- I don't think -- I don't
   15         A.     These are all the invoices related            15   believe that we discussed it that much
   16   to the Beech Project.                                      16   in-depth. We discussed the invoices. And
   17         Q.     For SDC-Gadot?                                17   perhaps this former definition of mine of
   18         A.     Yes.                                          18   discussing bank transfers was not exactly
   19         Q.     And you also, several times yesterday,        19   accurate.
   20   indicated that you would look for additional               20        Q.     Okay. Did you talk to Mr. Propis
   21   documents.                                                 21   since your deposition yesterday?
   22                Were you able to locate any other             22        A.     No.
   23   documents overnight?                                       23        Q.     What about Mr. Goldberger?
   24         A.     What do you mean?                             24        A.     No.
   25         Q.     Were you able to locate any other             25        Q.     What about Stuart Page?
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    1          A.   No.                                           1        A.     I am aware that we opposed some
    2          Q.   And what about Neil Gerard?                   2   of your requests in this regard. And we
    3          A.   No.                                           3   are still awaiting the final judgment
    4          Q.   What about David Hughes?                      4   regarding this issue.
    5          A.   No.                                           5        Q.     And did Insight -- did or does
    6          Q.   Anyone else that I haven't covered            6   Insight file tax returns with the U.S.
    7   yet?                                                      7   Government or a State Government?
    8          A.   And I -- neither did I speak with             8        A.     Insight, just like SDC-Gadot,
    9   the boss.                                                 9   regularly and duly reports to the authorities.
   10          Q.   In addition to the two sets of               10        Q.     Which authorities?
   11   invoices, are there any other documents                  11        A.     We're employing an accountant who
   12   that you've located that you'd like to                   12   takes care of that. I assume that he's
   13   provide to us today?                                     13   reporting to the authorities of Florida.
   14          A.   At your request, I have located              14   But I don't know it for a fact.
   15   the dates of my visit to London in the                   15        Q.     And what's the name of that
   16   beginning of 2020. Unfortunately, I don't                16   accountant?
   17   have the dates of the trial in London. So                17        A.     It's the -- the CPA firm Aminach.
   18   I cannot confirm if I was there at the time              18               THE INTERPRETER: Aminach.
   19   of the trial.                                            19   BY MR. BEHRE:
   20          Q.   And did you bring those records              20        Q.     Could you spell that, please?
   21   with you?                                                21        A.     I can spell it in Hebrew.
   22          A.   I made myself a note.                        22               THE INTERPRETER: A-m-i-n-a-c-h.
   23               Would you like me to give you the            23   Aminach.
   24   dates?                                                   24               THE WITNESS: It's one of the
   25          Q.   Yes, please.                                 25   larger companies here in Israel -- firms.
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                                                            18                                                          20


    1          A.   Between the 27th and the 30th of              1   BY MR. BEHRE:
    2   January and between the 17th of February                  2        Q.     And do they have an office in
    3   to the 20th of February.                                  3   Florida?
    4          Q.   And those are dates you were in               4        A.     No. They have a license to --
    5   London?                                                   5   to perform accounting work in America.
    6          A.   Yes.                                          6   They have a department especially designed
    7          Q.   And were you with Stuart Page                 7   for that.
    8   when you were in London on those two trips?               8        Q.     Did Insight file tax returns
    9          A.   I do not remember clearly and                 9   at any point with U.S. State or Federal
   10   specifically if we met. But I assume that                10   Government?
   11   we met. Because, generally, when I would                 11        A.     I don't know.
   12   come to London and he would be in London,                12        Q.     Can you tell us what you've done
   13   we would meet.                                           13   to prepare for today's deposition as the
   14          Q.   And do you recall if you met with            14   corporate representative of Insight?
   15   anybody else regarding Project Beech during              15        A.     I reviewed all the payments that
   16   those two trips?                                         16   we received in regard to the Beech Project.
   17          A.   I don't remember.                            17        Q.     And how were you able to determine
   18          Q.   You're aware that a subpoena for             18   and review all the payments that you received
   19   documents was served on Insight, the Florida             19   regarding Project Beech?
   20   entity; correct?                                         20        A.     The preparation for the testimony
   21          A.   I found out quite belatedly. But             21   on Insight was the same as I did for SDC-Gadot.
   22   yes, I did find out eventually.                          22   I did not prepare anything special for today.
   23          Q.   And are you aware that no documents          23   And since our bank account with the Bank of
   24   to date have been provided by you or your                24   America was closed, I assume that all these
   25   counsel regarding this company?                          25   invoices were paid. And that is the source
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    1   of my information about all these payments.                 1                Did or does Insight file tax returns
    2        Q.      Have you reviewed bank records                 2   in the U.S.?
    3   from the Bank of America regarding Insight?                 3           A.   Yes.
    4        A.      No. Because, as I said, since our              4           Q.   And you say that Insight doesn't
    5   account has been closed, we have no access                  5   conduct business in the United States.
    6   to the bank records.                                        6                What is the purpose of forming
    7        Q.      And you said "our account."                    7   Insight, if not to conduct business in the
    8                Are you referring to you and                   8   U.S.?
    9   Mr. Gur Lavie as the account holders?                       9           A.   The purpose of setting up Insight
   10        A.      Mr. Gur Lavie is merely a financial           10   was a conduit or a pipeline to transfer
   11   officer. So when I say "we," I refer to                    11   funds in a more convenient manner, in view
   12   the company, Insight as a company, exclusively             12   of the difficulties that we've had with
   13   to myself.                                                 13   money transfers prior to the setting up
   14        Q.      Did you speak with Mr. Gur Lavie              14   of the two companies SDC-Gadot and Insight.
   15   in preparation for your testimony here                     15                When -- when I mentioned that it
   16   today?                                                     16   was not conducting any business in the United
   17        A.      I -- I had spoken to him before               17   States, I meant that it does not perform any
   18   my -- yesterday's testimony about Gadot.                   18   work, any operations, any -- anything that
   19   I spoke to him yesterday merely to ask                     19   could be termed as business other than merely
   20   him to prepare those invoices that I had                   20   money transfers.
   21   promised you.                                              21           Q.   And are those -- yesterday, during
   22        Q.      Did you talk to him about Insight             22   your deposition for SDC-Gadot, you indicated
   23   specifically since that's why you're here                  23   that that company was set up primarily so
   24   today to testify?                                          24   that Stuart Page could pay you for Project
   25        A.      I see Omri almost on a daily basis.           25   Beech.
                     JULY 21, 2022 - AMIT FORLIT                                        JULY 21, 2022 - AMIT FORLIT
             30(B)(6) INSIGHT ANALYSIS AND RESEARCH LLC                         30(B)(6) INSIGHT ANALYSIS AND RESEARCH LLC


                                                              22                                                             24


    1   Until the day before yesterday, we discussed                1                Is that the same purpose that
    2   quite a lot. We discussed these issues quite                2   Insight was set up as well?
    3   a lot. I discuss it with him also as a friend.              3           A.   Yes. But not only as pertaining
    4   But since yesterday, we -- basically we discussed           4   to the Beech Project or as pertaining Stuart
    5   only the -- the invoices that I requested from              5   Page.
    6   him. I have no recollection of any other                    6           Q.   And what else besides pertaining
    7   discussions.                                                7   to the Beech Project or Stuart Page was --
    8        Q.      Regardless of whether it was yesterday         8   were these companies set up for?
    9   or the day before yesterday or even before                  9                Sorry.
   10   that, did you talk to Mr. Gur Lavie to prepare             10           A.   Stuart Page had other projects
   11   for your testimony today?                                  11   in addition to the project that we are
   12        A.      I assume yes.                                 12   calling Project Beech. And there were
   13        Q.      And do you recall what you discussed          13   also other clients.
   14   with him to prepare for your testimony today?              14           Q.   Okay. Is Insight affiliated
   15        A.      Mainly I requested him to -- to               15   with Insight GSIA, a BVI company?
   16   re-produce the -- the invoices, if he could                16           A.   No.
   17   re-produce the invoices.                                   17           Q.   And you're involved in Insight
   18        Q.      Anything else other than about the            18   GSIA; correct?
   19   invoice reproduction?                                      19           A.   No.
   20        A.      No.                                           20           Q.   Do you own that company? Or have
   21        Q.      Did or does Insight conduct business          21   you ever owned it?
   22   in the United States?                                      22           A.   No.
   23        A.      No.                                           23           Q.   Who owns it?
   24        Q.      And you -- I've asked you this. I             24           A.   A guy named Effi Lavie.
   25   wasn't sure of the answer.                                 25           Q.   And who is Effi Lavie?
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    1           A.   Another investigator who, to the              1          Q.   Now, you're aware that Insight
    2   best of my knowledge, has worked with Stuart               2   LLC was discussed at Mr. Azima's trial;
    3   Page.                                                      3   correct?
    4           Q.   And, in fact, Effi Lavie was your             4          A.   I don't know.
    5   business partner in Gadot EA going back to                 5          Q.   Did -- have you read Stuart
    6   the 1990s; correct?                                        6   Page's testimony at the trial of --
    7                MR. BARET: Excuse me. I would                 7   involving Farhad Azima?
    8   ask counsel to stick to the purpose of the                 8          A.   I did not read the testimony.
    9   deposition. This is not a deposition of                    9   I heard about it from him.
   10   Mr. Amit Forlit. And --                                   10          Q.   And did you hear that he testified
   11                MR. BEHRE: Oh, we're getting                 11   that Insight was responsible for preparing
   12   there.                                                    12   written reports regarding Project Beech?
   13                MR. BARET: -- I'm trying -- no.              13          A.   I don't recall that.
   14                MR. BEHRE: We're getting there.              14          Q.   Did Insight have a role in preparing
   15                MR. BARET: Okay.                             15   invoices for the Project Beech project?
   16                MR. BEHRE: I'll tie it up.                   16          A.   Insight U.S. had a role in preparing
   17                MR. BARET: I'm trying -- I'm                 17   the invoices. And we charged through Insight
   18   trying to not interfere.                                  18   U.S.
   19                MR. BEHRE: Okay.                             19          Q.   And charged who for those reports?
   20                MR. BARET: But --                            20          A.   We charged Stuart Page's company
   21                MR. BEHRE: I'll get there. It'll             21   for work that we did on Project Beech.
   22   tie directly.                                             22          Q.   And when you say "we did on Project
   23                MR. BARET: Yeah, but you -- you --           23   Beech," who is "we"?
   24   you are deposing Amit Forlit as Amit Forlit,              24          A.   My firm.
   25   not Insight.                                              25          Q.   And which firm is that?
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    1                MR. BEHRE: No, I'm not.                       1          A.   Gadot Information Services.
    2                MR. BARET: You're asking him about --         2          Q.   And why is Gadot Information Services
    3                MR. BEHRE: No. Just wait.                     3   billing through a company known as Insight?
    4                MR. BARET: -- companies --                    4          A.   Because it was convenient for us
    5                MR. BEHRE: Just -- just wait and              5   to charge via a number of U.S. companies.
    6   see.                                                       6   And we split up the charge.
    7                Did he finish his answer?                     7          Q.   And, in your view, is it a good
    8                THE WITNESS: Effi Lavie has no                8   business practice for one company to bill
    9   connection whatsoever to Insight LLC. [sic]                9   for the work of another company with a
   10   BY MR. BEHRE:                                             10   totally different named formed in a
   11           Q.   Isn't it a fact that Effi Lavie              11   totally different country?
   12   was the financial controller of Insight?                  12          A.   At the time it was.
   13           A.   Which Insight?                               13          Q.   And why -- why was that a good
   14           Q.   In -- I don't know which Insight.            14   business practice?
   15   You tell me.                                              15          A.   It was ultimately -- because,
   16           A.   Effi Lavie has no connection                 16   with Insight, when the bank did not have
   17   whatsoever to Insight LLC in the U.S.                     17   limitations on the transfer amounts,
   18           Q.   Does he have any involvement                 18   ultimately Insight was more active than
   19   with any entity called Insight?                           19   Gadot LLC [sic].
   20           A.   I assume yes, to the Insight                 20               In other words, the reason why
   21   registered in BVI.                                        21   we opened up two companies turned out to
   22           Q.   But not the one in the U.S.?                 22   be the right thing to do.
   23           A.   Correct.                                     23          Q.   Why did you create --
   24           Q.   And you're sure of that?                     24          A.   Or at least convenient to do.
   25           A.   Yes.                                         25          Q.   Why did you create, at the exact
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    1   same time, two U.S. entities when you only               1               MR. BEHRE: C-z -- oh, it's on
    2   needed one?                                              2   the screen.
    3        A.     Ultimately, we tried to open                 3               THE INTERPRETER: Kind of. Yeah.
    4   another bank account in Chase Manhattan.                 4   C-z-e-r-w-o-n-a-g-o-r-a.
    5   And that didn't go well. But what happened               5               (Pending question fully translated.)
    6   was we worked with Insight. And it was --                6               THE WITNESS: No. I don't think
    7   turned out to be more active than the other              7   so.
    8   company.                                                 8   BY MR. BEHRE:
    9        Q.     So if I understand your testimony,           9         Q.    (Partially translated.) Well,
   10   the project updates were prepared by Gadot,             10   she -- she helped manage a hostel in London
   11   the Israeli company. But that work was                  11   called Hayarkon 48 Hostel; is that correct?
   12   billed through a company called Insight                 12               THE INTERPRETER: Could you repeat
   13   that was created in the United States?                  13   the name?
   14        A.     (Translated.) Insight and                   14               THE WITNESS: (Comment in Hebrew.)
   15   Gadot LL -- SDC.                                        15               (Remainder of pending question
   16               (In English.) SDC.                          16         translated.)
   17        Q.     And payment was made into the               17               THE WITNESS: No. It's not correct.
   18   U.S. via wire for that work; correct?                   18   BY MR. BEHRE:
   19        A.     In the United States. Yes.                  19         Q.    Well, isn't it true that that hostel,
   20               Yes, the money transferred to the           20   Hayarkon 48 Hostel, was owned by Omri Gur Lavie?
   21   U.S. company and, from there, transferred               21         A.    Yes.
   22   to Israel, to the Israeli company rather.               22         Q.    And you made payments to that hostel
   23        Q.     And can you give us some explanation        23   several times from your accounts in the United
   24   for why, upon receipt of the money in the               24   States?
   25   U.S., it was then transferred, sometimes                25         A.    Correct. But that hostel is located
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    1   immediately, over to Israel and the Gadot                1   in Israel, not London.
    2   company in Israel?                                       2         Q.    Okay. The payments were made to
    3        A.     The money was transferred based              3   that hostel; correct?
    4   on financial considerations having to                    4         A.    "Kin."
    5   do with the -- with the case and other                   5               The company Hayarkon 48 is owned
    6   considerations.                                          6   by Omri Gur Lavie.
    7        Q.     During your meetings in Cyprus,              7         Q.    And those payments were, at least
    8   was Insight ever discussed?                              8   in part, payments for the role that Liat
    9        A.     Not that I can recall.                       9   played in the preparation of the reports;
   10        Q.     And during those meetings, Stuart           10   correct?
   11   Page's testimony was rehearsed; correct?                11         A.    No.
   12        A.     In Cyprus? No.                              12         Q.    Do you know Jean Goldi Horta?
   13        Q.     What about in Switzerland, was              13         A.    Yes, I do.
   14   Stuart Page's testimony rehearsed there?                14         Q.    She was involved in the preparation
   15        A.     I don't know. Because, in most              15   of the reports that were paid through the
   16   of the discussions that related to the                  16   U.S. entities; correct?
   17   trial, I wasn't present.                                17         A.    No.
   18        Q.     (Partially translated.) Was                 18         Q.    Didn't she hold a position with
   19   a woman by the name of Liat Czerwonagora                19   one of the U.S. entities as a risk analyst
   20   involved in preparation of the reports                  20   and data scientist?
   21   that were billed through Insight in the                 21         A.    To the best of my knowledge, no.
   22   United States?                                          22         Q.    Was she ever employed by Insight
   23               THE INTERPRETER: Did I get                  23   or Gadot?
   24   that right? Czergora [sic]? Could you                   24         A.    No.
   25   spell it?                                               25         Q.    Was she a freelance consultant
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    1   to any of those entities?                               1        Q.      And in that year, he was again
    2        A.    No.                                          2   sentenced for similar conduct against an
    3        Q.    So it's your testimony she did               3   individual by the name of Avigdor Lieberman.
    4   no work for any of your entities?                       4        A.      Okay.
    5        A.    None of the American companies.              5        Q.      Were you aware of that?
    6   I think she worked for Dinka.                           6        A.      I guess I was.
    7        Q.    And what is Dinka?                           7        Q.      Rafi Pridan is a known hacker,
    8        A.    Dinka is a company owned by Rafi             8   isn't he?
    9   Pridan.                                                 9        A.      Not to the best of my knowledge.
   10        Q.    And Dinka was paid through one              10        Q.      Well, on two occasions, he was
   11   or both of your U.S. entities; correct?                11   prosecuted and convicted and sentenced
   12        A.    I don't recall. I'd have to                 12   for hacking; right?
   13   review.                                                13        A.      You said 1999 was wiretapping.
   14        Q.    Okay. We can do that.                       14        Q.      Well, I'm asking you --
   15              And she worked with Rafi Pridan;            15        A.      And, in 2011, I don't think the
   16   correct?                                               16   charge was hacking.
   17        A.    In my opinion, she worked with              17        Q.      What was the charge?
   18   Rafi Pridan. But she did not work on                   18        A.      In 2011, I think it was something --
   19   Project Beech.                                         19   fax collecting or something like that. I
   20        Q.    And Pridan introduced Stuart                20   don't know. Something to do with Lieberman.
   21   Page to you; is that correct?                          21                MR. BEHRE: Facts, f-a-c-t-s,
   22        A.    In 2007 or '8.                              22   collecting?
   23        Q.    And Stuart Page ultimately gave             23                THE INTERPRETER: No. Fax, f-a-x.
   24   you work on Project Beech for which you                24   Facsimile machine.
   25   were paid through your U.S. entities;                  25                MR. BEHRE: Aah.
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    1   correct?                                                1                THE INTERPRETER: Facsimile machine.
    2        A.    I received payment for Project               2                MR. BEHRE: That's very retro. Okay.
    3   Beech through the American companies.                   3   BY MR. BEHRE:
    4        Q.    And you paid Rafi Pridan a                   4        Q.      You know Alan Apelblat; right?
    5   10 percent commission on the work that                  5        A.      No.
    6   Stuart gave you -- Stuart Page gave you;                6        Q.      Wasn't he a senior intelligence
    7   correct?                                                7   and business analyst for one of your entities?
    8        A.    I paid him commission. But I                 8        A.      I don't remember. I had a lot of
    9   don't recall the exact percentage.                      9   employees. Alan? Maybe.
   10        Q.    And those commissions were paid             10                Alan didn't work in any of the
   11   to him, at least in part, through the two              11   American companies.
   12   U.S. entities; correct?                                12        Q.      Did he work on the project updates
   13        A.    Correct.                                    13   that were paid for through the American
   14        Q.    And Rafi Pridan has been twice              14   companies?
   15   charged for wiretapping offenses in Israel;            15        A.      No, I'm not familiar with anything
   16   correct?                                               16   called "project update." And to the best
   17        A.    From general knowledge, I have              17   of my knowledge, Alan did not work on
   18   heard that too.                                        18   Project Beech.
   19        Q.    And, in 1999, he was sentenced              19        Q.      Apologies.
   20   to four years imprisonment for that type               20                When I say "project update," I'm
   21   of conduct involving an Israeli media                  21   referring to the updates that were prepared
   22   mogul by the name of Ofer Nimrodi?                     22   by you and your company for Project Beech.
   23        A.    I didn't know him in 1999.                  23        A.      They weren't updates. There were
   24        Q.    Did you know him in 2011?                   24   reports of findings in the project known as
   25        A.    Yes.                                        25   Beech.
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     1        Q.   Okay. Are you familiar with                   1   a number of projects besides Project Beech.
     2   Guerillmo Fremd, F-r-e-m-d.                             2   So yes, that sounds about right.
     3        A.   I think he also worked for one                3   BY MR. BEHRE:
     4   of my companies, but nothing to do with                 4        Q.    And yesterday we talked about the
     5   Project Beech.                                          5   deposits into the U.S. account for SDC-Gadot.
     6        Q.   Didn't he assist in the preparation           6   And those records indicated that you received
     7   of reports for Project Beech for which you              7   about 2.7 million from Stuart Page into that
     8   received payment in the United States?                  8   account.
     9        A.   No.                                           9              Do you recall that testimony?
    10        Q.   He had a title of senior                     10        A.    Yes.
    11   intelligence and business analyst; correct?            11        Q.    And so combining the two U.S.
    12        A.   I never gave anybody that title.             12   entities, during those four years -- 2017,
    13        Q.   Now, specifically with regard to             13   2018, 2019, and 2020 -- you received over
    14   Insight and its bank account at Bank of                14   $10 million from Stuart Page into your
    15   America, did it have a $50,000 wire limit              15   U.S. accounts; correct?
    16   like you had in SDC-Gadot?                             16        A.    That is correct. But only part
    17        A.   No. I think there might have                 17   of it -- and I'm not sure exactly which
    18   been a limit at 250,000. But I'm not sure.             18   part -- I'd have to add it up -- came
    19        Q.   And the Insight Bank of America              19   because of payment for Project Beech.
    20   account was opened in 2017; correct?                   20        Q.    So approximately what percentage
    21        A.   Correct.                                     21   would you estimate of that over $10 million
    22        Q.   And between 2017 and through                 22   was attributable to Project Beech?
    23   2020, more than $10 million was deposited              23        A.    I estimate about 50 percent.
    24   into that account; correct?                            24        Q.    So over $5 million over four years;
    25        A.   I have to assume that you are                25   correct?
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     1   right, because you have the bank statements             1        A.    Correct.
     2   and I don't.                                            2        Q.    And of that $5 million approximately,
     3        Q.   Does that sound about right?                  3   how much was paid out to your subcontractors
     4        A.   Yes. That seems to make sense.                4   or vendors that were working on Project
     5        Q.   (Partially translated.) And                   5   Beech?
     6   of that over $10 million, $7,488,310 was                6        A.    Most of the sum, in my opinion,
     7   received from Stuart Page in those four                 7   was paid to Gadot Israel.
     8   years.                                                  8        Q.    How were your subcontractors or
     9             Does that sound correct?                      9   vendors paid?
    10        A.   No.                                          10        A.    They were paid by Gadot Israel.
    11             THE INTERPRETER: Could you --                11   And a small number, I guess, I estimate,
    12             THE WITNESS: No.                             12   received payment from the American account.
    13             THE INTERPRETER: Four --                     13        Q.    In addition to subcontractors or
    14             THE WITNESS: Seven --                        14   vendors, were there any other individuals
    15             (Pending question partially                  15   or entities that worked on Project Beech
    16        re-translated.)                                   16   at your direction for which you paid them?
    17             THE WITNESS: (In English.) Ten.              17        A.    I don't recall. It's possible.
    18   It's not of seven.                                     18        Q.    Has Insight ever had employees?
    19             THE INTERPRETER: Could you repeat            19        A.    No.
    20   the number?                                            20        Q.    Now, you indicated yesterday
    21             MR. BEHRE: 7,488,310.                        21   that, in addition to subcontractors and
    22             THE WITNESS: (In English.) No                22   vendors, at times you used sources to get
    23   cents.                                                 23   information from certain targets that you
    24             (Pending question re-translated.)            24   were investigating.
    25             THE WITNESS: Stuart Page paid for            25              Do you recall that testimony?
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     1           A.   Yes.                                          1   found sources who provided information
     2           Q.   And how were those sources paid               2   regarding Project Beech; correct?
     3   for the work they did on Project Beech?                    3        A.      Human sources. Yes.
     4           A.   Through the subcontractors.                   4        Q.      How many human sources did
     5           Q.   And who were those subcontractors?            5   Mr. Halabi oversee regarding Mr. Azima?
     6           A.   Majdi Halabi was one of them.                 6                MR. BARET: That's not the
     7           Q.   Who else?                                     7   question.
     8           A.   I don't recall.                               8                THE INTERPRETER: (Comment in
     9           Q.   And how was Halabi paid? Through              9   Hebrew.)
    10   what entity?                                              10                THE WITNESS: (Comment in Hebrew.)
    11           A.   I don't recall. But I think we               11                (Pending question partially
    12   probably wired him money from an Israeli                  12        re-translated.)
    13   bank to his Israeli bank.                                 13                MR. BARET: Okay. Yeah. That's
    14           Q.   So if I understand the money                 14   the question.
    15   flow, Stuart Page would pay your entities                 15                THE WITNESS: Not -- not one.
    16   for Project Beech through your two U.S.                   16   BY MR. BEHRE:
    17   entities. And those two U.S. entities                     17        Q.      Well, there were -- you indicated
    18   would send the money to your Israeli                      18   yesterday there were sources close to
    19   company Gadot, which would then pay                       19   Mr. Azima that you and your team relied
    20   Halabi?                                                   20   upon for information; correct?
    21                Do I have that correct?                      21        A.      Sources that were close to Khater
    22           A.   Sounds right. I think Halabi                 22   Massaad.
    23   also received direct payment from the                     23        Q.      Well, didn't you prepare reports
    24   legal firms of the client.                                24   that were paid for through your U.S. entities
    25           Q.   And who were those legal firms?              25   that contained information obtained from
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     1   Dechert?                                                   1   sources who befriended or were close to
     2           A.   You'd have to ask him. I don't                2   Mr. Azima?
     3   know.                                                      3        A.      I don't know if the sources were
     4           Q.   (Not translated.) Stewarts                    4   close to or befriended Mr. Azima. But we --
     5   Law? Do you recall that name?                              5   we're talking about sources that were close
     6           A.   I remember those two names,                   6   to Khater Massaad. I remember that Stuart
     7   Stewarts Law and Dechert. But I don't                      7   Page once handled a source that was close
     8   know who commissioned his work and who                     8   to Farhad Azima.
     9   paid him.                                                  9        Q.      And who was that source?
    10           Q.   You indicated earlier that,                  10        A.      If I remember correctly, it was
    11   from the Insight Bank of America account                  11   an attorney from London.
    12   for the U.S. entity Insight, monies were                  12        Q.      Do you know the attorney's name?
    13   sent to Gadot Information Services in                     13        A.      I -- I don't -- I don't remember.
    14   Israel; correct?                                          14   But I think that he used the source to
    15           A.   Money -- money was transferred               15   solve a problem that Farhad Azima had
    16   from the American company to the Israeli                  16   in Saudi Arabia.
    17   company for work done on Project Beech.                   17        Q.      Did Mr. Halabi play any role
    18           Q.   And would it surprise you to                 18   in preparing the reports that were paid
    19   learn that the total amount transferred                   19   for through the U.S. entities?
    20   to the bank -- from the Bank of America                   20        A.      I do not recall if he drafted
    21   account to Gadot Information Services                     21   the report. But based on information
    22   during the four years I mentioned, 2017                   22   that he brought, some of it was included
    23   through 2020, was more than $6.5 million?                 23   in the report. I'm not sure that he wrote
    24           A.   It would not surprise me.                    24   or edited the report.
    25           Q.   And you indicated that Mr. Halabi            25        Q.      And Mr. Halabi provided to you
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     1   and your team the information he obtained;                 1   did you communicate with anybody about
     2   correct?                                                   2   your testimony other than your lawyer
     3        A.      Yes.                                          3   during the break?
     4        Q.      And you incorporated that                     4        A.     (In English.) No.
     5   information into the reports; correct?                     5               (Pending question translated.)
     6        A.      Yes.                                          6               THE WITNESS: No.
     7        Q.      And those reports were then                   7   BY MR. BEHRE:
     8   provided to Mr. Page; correct?                             8        Q.     Who worked on the Project Beech
     9        A.      They were sent to him.                        9   reports that you and your team prepared?
    10        Q.      And you recruited Mr. Halabi                 10        A.     On behalf of Gadot LLC [sic]
    11   to become a witness in the U.K. trial;                    11   and Insight, no one.
    12   correct?                                                  12        Q.     Not with regard to those two
    13        A.      No.                                          13   entities.
    14        Q.      Who did? Who picked him to be                14               Anyone who worked on those
    15   a witness?                                                15   reports that were paid for through the
    16        A.      I stated yesterday that Mr. Halabi           16   two U.S. entities.
    17   was part of the office and that he had heard              17        A.     No one was paid through the
    18   about the leakage just like everybody else                18   American entities.
    19   heard about it. And when we were requested                19        Q.     Stuart Page paid you, in part,
    20   to say who had reported it to Stuart, somebody            20   for the work your -- you and your team
    21   proposed -- or he may have proposed it himself,           21   did in preparing reports; correct?
    22   thanks to his name, his background, and the               22        A.     The reports were prepared by
    23   fact that that would prevent embarrassment                23   Gadot Israel.
    24   to the client. And that is how he was                     24        Q.     Yes.
    25   selected, or he selected himself.                         25               And they were paid for through
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     1        Q.      What do you mean when you use                 1   your U.S. entities, including, you said,
     2   the term "leakage"?                                        2   over $5 million from Stuart Page to your
     3        A.      There was a leakage of materials              3   Insight U.S. account; right?
     4   pertaining to Farhad Azima, which was                      4        A.     It -- Insight and Gadot both.
     5   published on -- on the Internet.                           5   And they paid Gadot Israel. And Gadot
     6        Q.      And by "leakage," are you talking             6   Israel paid.
     7   about the data that was stolen from Farhad                 7        Q.     And Gadot -- Gadot Israel paid
     8   Azima?                                                     8   the individuals who prepared the reports;
     9        A.      So it seems.                                  9   correct?
    10        Q.      So "leakage" is a polite word for            10        A.     Correct. It paid salaries to
    11   the stolen data from Farhad Azima; right?                 11   people.
    12        A.      We're all polite here, aren't we?            12        Q.     And what are the names of the
    13        Q.      Most of the time.                            13   people who prepared those reports that
    14        A.      One of the best songs by Bob Dylan.          14   were paid for [sic] the monies provided
    15                MR. BARET: Can we take, like, a --           15   by Stuart Page via the U.S. entities?
    16   five, ten minutes? I need --                              16        A.     To the best of my understanding --
    17                MR. BEHRE: Sure.                             17   and I am responding here as the corporate
    18                THE VIDEOGRAPHER: Going off the              18   representative of the two companies --
    19   record at 12:20.                                          19   Gadot Israel did not --
    20                (Recess from 12:20 p.m. to 12:39 p.m.        20        Q.     Sorry.
    21        Israel Daylight Time.)                               21        A.     -- Gadot Israel is the one who
    22                THE VIDEOGRAPHER: Back on record             22   made the payments. And Gadot Israel is
    23   at 12:39.                                                 23   not being investigated here.
    24   BY MR. BEHRE:                                             24               MR. BEHRE: That wasn't my
    25        Q.      (Not translated.) Mr. Forlit,                25   question.
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     1                Could you read my question                 1   I did not see the reports sent by Mr. Stuart.
     2   back, please?                                           2           Q.   So you seem to be suggesting that
     3                THE COURT REPORTER: Let me                 3   the -- if any report contains stolen data,
     4   read it, Haya, and then you re-interpret.               4   it was put in there by Stuart Page and not
     5                (Last full question read and               5   you or your team.
     6        re-translated.)                                    6                Is that what you're alleging?
     7                THE WITNESS: Since these people            7           A.   I -- I -- what I claim is that
     8   are employed and receive their payment from             8   I do not know. I did not see the reports
     9   Gadot Israel, I am not prepared to divulge              9   that he transferred. So I cannot refer
    10   their names.                                           10   to whatever was in those reports.
    11   BY MR. BEHRE:                                          11           Q.   What subcontractors worked on
    12        Q.      So you know their names. You're           12   the Project Beech reports?
    13   just not willing to provide them; right?               13           A.   I don't remember.
    14        A.      I'm not entirely sure who exactly         14           Q.   You don't remember or you're not
    15   prepared those reports. I know the names               15   willing to name them?
    16   of employees who worked at the time in the             16           A.   I don't remember.
    17   company. But I cannot be exactly precise               17           Q.   Were any of the subcontractors
    18   about who prepared the reports.                        18   based in India?
    19        Q.      What are the names of those               19           A.   Definitely not.
    20   employees?                                             20           Q.   Were any of the employees who
    21        A.      I'm not prepared to tell.                 21   worked on the reports based in India?
    22        Q.      You're not willing to provide             22           A.   Definitely not.
    23   those names; right?                                    23           Q.   (Not translated.) Have you
    24        A.      Yes. Correct.                             24   ever worked with a company named CyberRoot?
    25                MR. BEHRE: Will counsel instruct          25                THE INTERPRETER: Cyber?
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     1   his client to answer?                                   1                MR. BEHRE: Root.
     2                MR. BARET: (Not translated.) If            2                (Pending question translated.)
     3   you -- if you -- if you wish, you may answer.           3                THE WITNESS: Never.
     4                THE INTERPRETER: Sorry?                    4   BY MR. BEHRE:
     5                (Comment in Hebrew.)                       5           Q.   Some of the project reports you
     6                MR. BARET: If you wish to answer,          6   prepared use the term "electronic sources."
     7   you can answer.                                         7                What does that mean?
     8                THE WITNESS: I don't want to.              8           A.   Many -- many investigations
     9   BY MR. BEHRE:                                           9   within or on the web include chat rooms,
    10        Q.      Why is it -- why is it such a             10   collecting information from the dark
    11   secret, the names of the individuals who               11   net, contacts with some obscure sources
    12   prepared these reports?                                12   that promise information. Overall, this
    13        A.      With some of them, I have NDA             13   is called an Internet investigation.
    14   agreements. And others have a security                 14           Q.   Your reports use the term
    15   clearance in their work in the reserve                 15   "electronic sources."
    16   duty in the IDF.                                       16                What does that specific term
    17        Q.      And part of the reason you're             17   mean?
    18   unwilling to provide those names is because            18           A.   I haven't seen a report of mine
    19   the reports they worked on contain stolen              19   that is using that term of "electronic
    20   data; correct?                                         20   sources."
    21        A.      This is not correct. In the --            21           Q.   Okay.
    22   the reports to Mr. Page did not contain                22                (Exhibit 3 marked.)
    23   any stolen information to the best of our              23   BY MR. BEHRE:
    24   knowledge. Whatever Mr. Page added and                 24           Q.   I'm showing you what's been
    25   transferred to the client, I don't know.               25   marked as deposition Exhibit No. 3.
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     1                It's a series of corporate                 1   a storage for my own belongings.
     2   records regarding Insight Analysis and                  2        Q.     If you look at the first annual
     3   Research LLC including the Articles of                  3   report --
     4   Organization for the State of Florida                   4               (Brief technical interruption
     5   and annual reports for the company for                  5        in the proceedings.)
     6   2018, 2019, 2020, 2021, and 2022.                       6               THE WITNESS: (Comment in Hebrew.)
     7                Could you look at that exhibit             7               MR. BARET: Strike that.
     8   and see if you can identify it?                         8   BY MR. BEHRE:
     9        A.      (Examining.) Yes. I identify               9        Q.     -- for 2018 -- so that's the third
    10   the documents.                                         10   page of the exhibit -- it lists Mr. Gur Lavie
    11        Q.      And were these documents filed            11   on the signature line as being the CEO of
    12   at your direction?                                     12   Insight Analysis and Research LLC.
    13        A.      I assume they were.                       13               Do you see that?
    14        Q.      And in the Article [sic] of               14        A.     (Translated.) On page 3?
    15   Organization, which is the first two                   15               (In English.) Gur Lavie. Gur
    16   pages of the exhibit, it lists in                      16   Lavie. "Signature." "Date."
    17   Article IV an address for Alon Omri                    17        Q.     It's the annual report for April --
    18   Gur Lavie.                                             18   filed on April 29th, 2018.
    19        A.      "Kin."                                    19        A.     (Comment in Hebrew.)
    20        Q.      Do you see that?                          20               (Translated.) Aah, yes.
    21        A.      (In English.) Yes.                        21        Q.     Is that accurate?
    22                "Kin."                                    22               Was Mr. Gur Lavie the CEO?
    23        Q.      And the address is 5 HaBarzel             23        A.     Since these companies were not
    24   Street in Tel Aviv.                                    24   serving basically any other purpose than
    25                Do you see that?                          25   being a conduit for transfer of funds, we
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     1        A.      Yes.                                       1   were not very particular about the choice
     2        Q.      And that's the same address that           2   of -- the choice of titles. But for all
     3   was used for you in the corporate records               3   intents and purposes, it was me who was
     4   for SDC-Gadot; correct?                                 4   running the company.
     5        A.      Yes. Correct.                              5        Q.     So then this particular annual
     6        Q.      Who lives at that address?                 6   report is not accurate; correct?
     7        A.      These -- these were the corporate          7               Mr. Gur Lavie is not the CEO?
     8   offices of Gadot in the past.                           8        A.     It could be that he was a
     9        Q.      Are they currently the corporate           9   co-managing director.
    10   offices of Gadot?                                      10        Q.     But not --
    11        A.      Yes.                                      11               THE INTERPRETER: Or "co" --
    12        Q.      And is that an office building?           12   BY MR. BEHRE:
    13        A.      Yes.                                      13        Q.     -- CEO?
    14        Q.      How much office space do you have         14               THE INTERPRETER: -- "CEO."
    15   there?                                                 15   "Co-CEO."
    16        A.      About 140 square meters.                  16   BY MR. BEHRE:
    17        Q.      How many individual offices are           17        Q.     Co-CEO with who else?
    18   included in the office suite?                          18        A.     With me.
    19        A.      Four.                                     19        Q.     How were the revenues and
    20                THE INTERPRETER: "Four."                  20   profits of Insight Analysis and Research
    21                THE WITNESS: Four and a                   21   LLC shared between you and Mr. Gur Lavie?
    22   conference room.                                       22        A.     To the best of my recollection,
    23   BY MR. BEHRE:                                          23   there were no revenues or profits as such
    24        Q.      Who occupies the four offices?            24   in -- that we left in -- in the company.
    25        A.      No one today. This serves as              25   So Mr. Gur Lavie was receiving a salary,
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     1   which was paid to him sometimes directly                   1                (Remainder of pending question
     2   from Insight to companies belonging to                     2        translated.)
     3   him and sometimes in other -- other avenues                3                THE WITNESS: He received his
     4   or other ways. But I don't remember the                    4   salary directly to companies of his, not
     5   details.                                                   5   to him personally.
     6                MR. BEHRE: Can I see that?                    6   BY MR. BEHRE:
     7                THE COURT REPORTER: Yeah, I                   7        Q.      And what were the companies of
     8   was just writing to Adi about that.                        8   his that received his salary?
     9                (Brief construction interruption              9        A.      I believe it was Hayarkon 48
    10           in the proceedings.)                              10   and Yessodot.
    11                MR. BEHRE: It's getting closer               11                THE INTERPRETER: Y-e, double
    12   and closer.                                               12   s, o-d-o-t.
    13                THE COURT REPORTER: I wrote to               13   BY MR. BEHRE:
    14   her.                                                      14        Q.      And how much was his salary?
    15                MR. BEHRE: It's like a horror                15        A.      His salary was $20,000 a month.
    16   flick.                                                    16   I do not recall the exact and precise
    17                MR. BARET: Hopefully they're                 17   accounting, you know, which money came
    18   not going to fall through like in --                      18   from what source.
    19                THE INTERPRETER: Chainsaw --                 19        Q.      And what did he do for Insight
    20                THE COURT REPORTER: You want                 20   Analysis and Research in order to receive
    21   to --                                                     21   that level of salary?
    22                MR. BEHRE: I know.                           22        A.      Omri's role is to manage all the
    23                THE COURT REPORTER: You want to              23   finances of all my companies. And, once
    24   go off for --                                             24   again, I do not remember precisely what
    25                THE INTERPRETER: Chainsaw massacre.          25   came from where. But he was not working
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     1                THE COURT REPORTER: Ruchie, we're             1   only for Insight. He was working for all
     2   on the video.                                              2   of my -- the -- all the companies connected
     3                Go off for a second.                          3   to me.
     4                MR. BEHRE: Why don't we take                  4        Q.      And how many companies are there
     5   a --                                                       5   connected to you?
     6                THE VIDEOGRAPHER: Going off --                6        A.      I believe that, in Israel, there
     7                MR. BEHRE: -- brief break.                    7   are two of them and the two American companies.
     8                THE VIDEOGRAPHER: -- record at --             8        Q.      Gadot Information [sic] in Israel.
     9   12:59.                                                     9                And what's the other Israeli company?
    10                (Recess from 12:59 p.m. to 1:04 p.m.         10        A.      I have another company, whose name
    11           Israel Daylight Time.)                            11   I don't even remember, that is engaged in
    12                THE VIDEOGRAPHER: Back on record             12   real estate, also Gadot with something.
    13   at 1:04.                                                  13        Q.      So Mr. Gur Lavie, as it relates
    14   BY MR. BEHRE:                                             14   to Insight Analysis and Research, was a
    15           Q.   (Partially translated.) You said             15   salaried employee; correct?
    16   before the break that Mr. Gur Lavie received              16        A.      No. He received a salary into
    17   a salary and that he was paid either directly             17   a company in Israel. But he ran all the
    18   from Insight U.S. to him or his companies;                18   financial affairs that are connected to
    19   correct?                                                  19   me. He did not receive a salary per se
    20                THE INTERPRETER: You said Halavi?            20   from the companies in United States. He
    21                MR. BEHRE: Gur Lavie.                        21   received transfers to companies of his
    22                THE COURT REPORTER: Gur Lavie.               22   in Israel.
    23                THE WITNESS: Gur Lavie.                      23        Q.      Well, just a few minutes ago
    24                THE INTERPRETER: Gur Lavie.                  24   you referred to it as a salary.
    25   //                                                        25                Are you changing your testimony
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     1   now?                                                      1   account for the other company at Citibank.
     2          A.   Let's be more precise. What                   2   And we decided, for convenience purposes,
     3   I was talking about is wages. Perhaps                     3   to open two accounts, one for each of the
     4   the term "salary" is not exactly accurate.                4   companies and have one of us in each one
     5   These are wages in the tune of $20,000                    5   of them.
     6   that he received for the management of                    6        Q.    Were those two bank accounts,
     7   all my financial affairs.                                 7   the one at Citi for Gadot and the one
     8          Q.   So he received wages and he                   8   at Bank of America for Insight, opened
     9   was not an owner, was he?                                 9   on the same day?
    10          A.   Correct.                                     10        A.    To the best of my recollection,
    11          Q.   And so looking at the annual                 11   yes. Or the next day.
    12   report that was filed on January 21st                    12        Q.    And is there some reason why one
    13   2019, that is inaccurate in describing                   13   of the accounts is in your name and one of
    14   Mr. Gur Lavie as an owner, isn't it?                     14   the accounts is in his name?
    15          A.   I believe these reports were                 15        A.    No.
    16   submitted by an accountant --                            16              (Exhibit 5 marked.)
    17               THE INTERPRETER: Okay.                       17   BY MR. BEHRE:
    18               THE WITNESS: -- an accountant                18        Q.    I'm showing you next what we'll
    19   firm. And the questions should be asked to               19   mark as Exhibit No. 5 in this deposition.
    20   them, why did they change their terminology              20              These are Bank of America bank
    21   from one annual report to the next.                      21   statements for Insight Analysis and Research.
    22               (Exhibit 4 marked.)                          22   And they bear Bates numbers, so numbers at
    23   BY MR. BEHRE:                                            23   the bottom of the pages. They start at
    24          Q.   I'm showing you next what's been             24   000222 and they run through 000 -- no, I
    25   marked as Exhibit No. 4 for this deposition.             25   take that back. They're not subsequently
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     1   It's a five-page document that appears to                 1   numbered, at least my copy isn't.
     2   be opening documents for the Bank of America              2              So what I'll tell you is that
     3   account for Insight Analysis and Research.                3   these are bank records that move -- that
     4          A.   (Examining.) Okay. Go ahead.                  4   are from October 30th, 2017, through the
     5          Q.   Is that what this is, the bank                5   bank statement for October 1st, 2021.
     6   opening documents for this account at Bank                6              And the bank -- bank statements,
     7   of America for Insight Analysis and Research?             7   starting with the December 1st, 2018,
     8          A.   It would seem so.                             8   statement is numbered five zeros, 1 --
     9          Q.   And there's only one individual               9   is it six zeros? -- 000001. And they
    10   who's authorized to transact business in                 10   run through 000283 [sic]. They're just
    11   this account; correct?                                   11   not in order because they were produced
    12          A.   Correct.                                     12   on two separate occasions by the Bank of
    13          Q.   And that individual is Mr. Gur               13   America.
    14   Lavie and not you; correct?                              14        A.    (Examining.)
    15          A.   Correct.                                     15        Q.    Have you had a chance to look
    16          Q.   And were you present with                    16   at those bank records?
    17   Mr. Gur Lavie when he opened this account?               17        A.    No. Because I didn't have an
    18          A.   Yes.                                         18   opportunity -- I didn't have access to
    19          Q.   And was this opened in Florida               19   the --
    20   or New York or somewhere else?                           20        Q.    Okay.
    21          A.   In Miami, Florida.                           21        A.    -- bank --
    22          Q.   So you were present but you weren't          22        Q.    Well --
    23   put on the account.                                      23        A.    -- account.
    24               Why not?                                     24        Q.    -- take a minute to make --
    25          A.   At the same time, we opened the              25        A.    But I --
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     1        Q.     -- yourself --                              1        Q.      And Global Impact Services is
     2        A.     -- thank you.                               2   owned by Eitan Arusy; is that correct?
     3        Q.     -- familiar with them.                      3        A.      Correct.
     4        A.     It's about 500 pages, isn't it?             4        Q.      And could you spell that for us?
     5               I think you'll probably refer               5        A.      In Hebrew?
     6   me to a specific page?                                  6        Q.      Yes.
     7        Q.     I want to first see if you can              7                MR. BEHRE: And then you can
     8   identify what these are.                                8   translate it.
     9        A.     Yes, these look like the bank               9                THE WITNESS: I think he spells
    10   statements.                                            10   Eitan, E-i-t-a -- E-i-t-a -- t-h-a-n?
    11        Q.     (Not translated.) Directing                11   T-h-a-n.
    12   your attention to the bank statement for               12                THE INTERPRETER: Arusy?
    13   the month of December 2017, could you                  13                MR. BARET: Very similar to
    14   look at that? It's just a few pages in,                14   English spelling; right?
    15   six, seven pages in.                                   15                THE WITNESS: (In English.)
    16        A.     (Comment in Hebrew.)                       16   A-r-u-s-i.
    17               THE INTERPRETER: (Comment in               17                (Translated.) A-r-u-s-i,
    18   Hebrew.)                                               18   question mark.
    19               THE WITNESS: Okay.                         19   BY MR. BEHRE:
    20   BY MR. BEHRE:                                          20        Q.      And Mr. Arusy is your business
    21        Q.     And if you look at Bates page              21   partner; correct?
    22   230 --                                                 22        A.      He's not a business partner. We
    23        A.     Yes.                                       23   collaborate on certain jobs.
    24        Q.     -- you'll see that the bank                24        Q.      And you have or had an agreement
    25   statement is addressed to Insight Analysis             25   with him that, for each payment you received
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     1   and Research in Miami, Florida; correct?                1   from Stuart Page, he received a percentage
     2        A.     Correct.                                    2   of that payment; right?
     3        Q.     And on the first page, it indicates         3        A.      I don't recall. But he was paid
     4   that there were deposits in the amount of               4   for work that he did, that he supplied.
     5   $459,950.                                               5        Q.      What work did he do?
     6               Do you see that?                            6        A.      He did a variety of different
     7        A.     Yes.                                        7   works, including analysis and investigations,
     8        Q.     And there were withdrawals of               8   in-depth investigations.
     9   $430,092.70?                                            9        Q.      What do you mean by "analysis"?
    10        A.     Yes.                                       10        A.      Eitan is a very gifted person. And
    11        Q.     And looking at page 232, you'll --         11   he once worked for the Manhattan prosecutor.
    12   you will see that Page Group deposited                 12   And he's -- has analytic skills.
    13   $280,000 minus the wire transfer fee of                13        Q.      And at one point, he was working
    14   apparently $50.                                        14   on investigating individuals and entities
    15               Do you see that?                           15   that were violating sanctions against doing
    16        A.     Yes. And I -- I believe that,              16   business with Iran; correct?
    17   if it was -- this was for part of Project              17        A.      Eitan doesn't work only with me.
    18   Beech, then he also received the invoice.              18   And he had some large U.S. companies as his
    19        Q.     Directing your attention to the            19   clients that were involved in investigating
    20   time entry -- or the transaction entry on              20   sanctions -- or violations, rather, of the
    21   December 26, 2017, it indicates that there             21   sanctions. And I think he had a large case
    22   was a $200,000 wire payment made from this             22   that he worked on for the D.A. in Manhattan.
    23   account to Global Impact Services.                     23        Q.      And the company Global Impact
    24               Do you see that?                           24   Services is a company established in the
    25        A.     Yes.                                       25   United States; correct?
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     1        A.     I think so.                                 1   that he asked me to meet with Jaime urgently
     2        Q.     And Mr. Arusy is currently or               2   and tell him about the content of the meeting.
     3   was affiliated in some capacity with a                  3   I spoke to Jaime. We had arranged to meet
     4   U.S. law firm; right?                                   4   in his room -- I believe it was the -- the
     5        A.     I don't know. I know that he                5   Park Hyatt in Manhattan. And I told him
     6   worked for the D.A. He was hired by the                 6   what Stuart had requested.
     7   D.A. in Manhattan.                                      7               To the best of my recollection,
     8        Q.     And Mr. Arusy attended some of              8   this is one of the very few meetings in
     9   the Project Beech meetings, didn't he?                  9   which I had met Jaime without Stuart.
    10        A.     I think so. Yes.                           10               Later on, at the request of Jaime
    11        Q.     And he attended at least one               11   and Neil, we met all four of us in London.
    12   meeting in Cyprus; correct?                            12   And then Jaime and Neil asked Stuart to
    13        A.     I don't recall.                            13   report this meeting to the FBI.
    14        Q.     Did he ever attend any meetings            14          Q.   Jamie Buchanan lives in London;
    15   with you?                                              15   right?
    16        A.     It did happen. Yes.                        16          A.   To the best of my recollection,
    17        Q.     Do you recall where those meetings         17   at the time, he was distributing his time
    18   occurred?                                              18   between Dubai, London, and Canada.
    19        A.     I assume in London. But I don't            19          Q.   What year was this?
    20   recall exactly.                                        20          A.   I believe this was at the end
    21        Q.     Did he attend at your invitation           21   of 2018.
    22   or the invitation of someone else?                     22          Q.   And at the time, you lived in
    23        A.     I -- I honestly don't remember.            23   Israel; right?
    24        Q.     Did you ever attend a meeting in           24          A.   Correct.
    25   New York with him regarding Project Beech?             25          Q.   So why does somebody who lives
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     1        A.     I don't recall a meeting of that            1   at least part time in London and somebody
     2   nature. But I do recall a meeting I had                 2   who lives in Israel fly all the way to
     3   alone in New York about Project Beech.                  3   New York to meet?
     4        Q.     And who was that meeting with?              4          A.   Jaime was on the move constantly.
     5        A.     With Jamie Buchanan.                        5   And Stuart was so disturbed by the -- by
     6        Q.     Do you remember when that was?              6   the meeting that he had asked me to meet
     7        A.     I think late 2018.                          7   Jaime as fast as possible, at the earliest.
     8        Q.     And who else attended besides you           8   And at that time, Jaime was in New York.
     9   and Mr. Buchanan?                                       9   So I took a flight to New York to meet
    10        A.     At that specific meeting, just             10   him.
    11   the two of us.                                         11          Q.   And then, later on, there was
    12        Q.     And what was the purpose of the            12   a meeting in London.
    13   meeting?                                               13               What happened at that meeting
    14        A.     So Stuart Page got a request from          14   where, if I understand it, you, Jaime,
    15   two people. One of them was a very close               15   Neil, and Stuart met?
    16   friend of his. His name was Alex Ibragimov.            16          A.   I believe that the meeting took
    17   And the second person's name was Dmitry.               17   place in a club called George that Jaime
    18   But, once again, this is what I heard                  18   was a member of. Here too, at the request
    19   from Stuart.                                           19   of Stuart, we performed a security check
    20               The meeting was held in London.            20   to make sure that none was being followed.
    21   And Stuart told me that, at that meeting,              21               And I remember, at the meeting,
    22   he was threatened and told to implicate or             22   that Stuart told Jaime and Neil how the
    23   frame Neil and Gerard in improper actions              23   conversation with Dmitry and Alex had gone.
    24   in managing the file.                                  24   I think that, by the time the meeting was
    25               He was so disturbed by the meeting         25   held, Alex spoke once again with Stuart
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     1   or with his son perhaps. And what was                    1        A.   I can estimate five to ten times.
     2   discussed at that meeting was whether                    2   But I don't have that information.
     3   or not Stuart would agree to report his                  3        Q.   And it appeared, didn't it, that
     4   meeting to the authorities.                              4   Gerard believed that Arusy was an intelligent
     5               And in my opinion, his trip to               5   person?
     6   the United States to meet FBI agents --                  6        A.   I don't know what he believed or
     7   and I wasn't there, I had nothing to do                  7   didn't believe.
     8   with that -- was for that purpose.                       8        Q.   Well, Gerard asked, on occasion,
     9        Q.     (Partially translated.) And                  9   Arusy his opinion on certain aspects of
    10   when you say his trip to meet the FBI,                  10   the investigation; correct?
    11   who is -- who is "his"?                                 11        A.   Correct.
    12        A.     Stuart Page.                                12        Q.   And Arusy advised Gerard on the
    13        Q.     And so when you met with Jamie              13   investigation; correct?
    14   Buchanan in New York and you met with the               14        A.   (Translated.) When we had staff
    15   three others in London, in both instances               15   meetings, everybody, including me, would
    16   you were paid for that work; right?                     16   raise ideas. And various subjects were
    17        A.     This is funny. Stuart promised              17   discussed. That was the nature of the
    18   that he would take care of the costs, in                18   meetings. Eitan was not the chief consultant
    19   the context of special expenses, that were              19   to Neil about Project Beech. I don't think
    20   beyond the scope of my work. And I know                 20   that Neil ever met with Stuart --
    21   that he got more than he was budgeted to                21             (In English.) -- ever met with --
    22   get. But he never paid me for it. So                    22             MR. BARET: Eitan.
    23   one could say that this trip was voluntary.             23             THE WITNESS: (In English.)
    24        Q.     Or at least unpaid?                         24   -- either Eitan or --
    25               MR. BARET: Pro bono.                        25             (Translated.) -- either Eitan --
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     1               THE COURT REPORTER: What?                    1             (In English.) -- or me without
     2               MR. BARET: Pro bono. Not --                  2   Stuart.
     3   not volunteer.                                           3             (Translated.) -- or me without
     4               THE WITNESS: (In English.)                   4   Stuart.
     5   Pro bono.                                                5   BY MR. BEHRE:
     6               MR. BARET: Just not -- not --                6        Q.   When you say "staff meetings,"
     7   not paid.                                                7   what do you mean?
     8               THE INTERPRETER: Pro bono.                   8        A.   There was Jaime. There was
     9   BY MR. BEHRE:                                            9   Stuart. Sometimes Eitan. Me. And Neil.
    10        Q.     Do you own any part of Global               10        Q.   Did Amir Handjani ever attend
    11   Impact Services?                                        11   any of those meetings?
    12        A.     No.                                         12        A.   I personally never met Amir
    13        Q.     With regard to Eitan Arusy, did             13   Handjani. If he was at meetings that
    14   he work with Stuart Page?                               14   I didn't attend, I don't know.
    15        A.     It's possible.                              15        Q.   Do you have any knowledge of
    16        Q.     Did he ever meet with Stuart Page           16   what role Mr. Handjani played in Project
    17   to the best of your knowledge?                          17   Beech?
    18        A.     Yes.                                        18        A.   I only know that, towards the
    19        Q.     Was that always on Project Beech            19   end of the project, that certain people
    20   or some other project?                                  20   threatened Stuart on behalf of the client.
    21        A.     Not just Project Beech.                     21   Not exactly threatened. They cautioned
    22        Q.     Okay. To the best of your knowledge,        22   him to stop trying to make contact with
    23   did Eitan Arusy ever meet with Neil Gerard?             23   the boss. So he turned, among others,
    24        A.     Yes.                                        24   to Amir Handjani. And I know that he
    25        Q.     About how many times?                       25   was always considered a close consultant
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     1   of the boss.                                            1   letter.
     2        Q.    So the boss turned to Handjani               2              What -- did you ever see that?
     3   to threaten Page not to do what towards                 3         A.   I don't remember if he just told
     4   the end of the project?                                 4   me about it or actually sent me a copy of
     5        A.    Towards the end of the project,              5   it.
     6   Stuart tried to get a meeting with the                  6              And I -- I remember he was very
     7   boss. And he went through all kinds of                  7   offended. And it was presented as if this
     8   acquaintances of his to get to the boss.                8   was a termination of his employment and
     9   One of those acquaintances was Amir.                    9   that he would be paid a compensation of
    10              And I know that at one time                 10   one and a half million dirham, which is
    11   he even got a letter from RAK's attorneys.             11   about $400,000.
    12   And that's the first time I encountered                12              And he talked to me, asked my
    13   that term "cease and desist." And they                 13   advice about how -- how to respond to that.
    14   simply said to him: Stop trying to make                14   And he responded by saying that he had --
    15   contact.                                               15   he had never had a contract with the --
    16        Q.    Why was Stuart trying to make               16   but rather an oral agreement with the
    17   contact with the boss, that is, the ruler?             17   boss. And he asked for four and a half
    18        A.    To the best of my understanding --          18   million dirham.
    19   and this is based completely on hearsay --             19              THE INTERPRETER: I'd like to
    20   he thought he had a bonus coming to him                20   correct something I said earlier. I said --
    21   at the end of this case.                               21   I said "termination of employment." It
    22        Q.    And how much of a bonus did he              22   should have been "termination of a contract."
    23   think he had coming to him?                            23   BY MR. BEHRE:
    24        A.    Something about $2 million.                 24         Q.   And what year and month was this
    25        Q.    And was any of that bonus                   25   occurring in, if you recall?
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     1   supposed to go to you?                                  1         A.   I think about two or three months
     2        A.    The oral agreement we had was                2   after he testified at the trial.
     3   that, for all the work that we did, he                  3         Q.   And the bonus was because the
     4   would -- 70 percent of what he charged                  4   Rakia case had gone well in Rakia's view;
     5   for our work, which wasn't the entire                   5   right?
     6   amount, 30 percent would be his commission.             6         A.   I can't say. I can't say. That's --
     7   We were also supposed to get part of the                7   Stuart thought it went well. And he wanted
     8   bonus.                                                  8   the bonus. And I think he -- he asks for
     9              Today I know that, in his dismissal          9   a bonus from every -- his clients when he
    10   letter, he did receive a certain sum. I                10   stops working with them.
    11   don't know how much to this day. And he                11         Q.   And one last thing, and we'll
    12   denies -- up to the point that I last spoke            12   take a break.
    13   to him, he denied ever receiving that. And             13              You indicated a few moments ago
    14   I was supposed to receive part of that amount          14   that there was a 70/30 split. And I want
    15   too. But I didn't.                                     15   to make sure I understand it correctly.
    16        Q.    Who wrote the cease and desist              16              That every payment Stuart Page
    17   letter to Stuart Page, if you know?                    17   received, you got 70 percent of it and he
    18        A.    I think the attorneys that are              18   kept 30?
    19   representing Rakia in England.                         19         A.   No. Stuart Page presented that,
    20        Q.    Stewarts Law?                               20   for our work on the case, he would charge
    21        A.    I don't know. I think they                  21   an amount of money that varied over time.
    22   switched attorneys at some point. But                  22   Besides our work, he charged for other jobs
    23   I don't know. There was an attorney, I                 23   large amounts of money, which I don't know
    24   think, named Louise. But I'm not sure.                 24   how much. I even know that he once charged
    25        Q.    And you mentioned a dismissal               25   $2 million for a job and he had to give it
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     1   back because he was unable to perform it.                1   name?
     2                And from the amounts that he                2                MR. BEHRE: Ezekiel.
     3   claimed to have charged, where the division              3                THE INTERPRETER: Golan Glaze [sic]
     4   was 70/30, but I never knew if what he was               4   and Ezekiel Golan, one --
     5   saying was actually true.                                5                THE WITNESS: (In English.) No.
     6        Q.      So who got the 70 percent and who           6                THE INTERPRETER: -- and the same.
     7   got the 30 percent?                                      7                THE WITNESS: Gordon Glaze and
     8        A.      My companies were supposed to get           8   Ezekiel Golan.
     9   70. And he was supposed to get 30.                       9                THE INTERPRETER: "Gordon Glaze
    10        Q.      And that's because you were doing          10   and Ezekiel Golan."
    11   most of the work; right?                                11                THE WITNESS: We mentioned him
    12        A.      I'm -- I'm relating to the work            12   yesterday.
    13   I did. He didn't do anything. For what                  13   BY MR. BEHRE:
    14   he did, he charged different sums.                      14           Q.   They're both companies [sic]
    15        Q.      So you -- you did all the work,            15   owned by whom?
    16   but he got 30 percent of the money?                     16           A.   It's one and the same person.
    17        A.      I was one of the contractors               17   He holds both a Canadian passport and an
    18   who worked on the case. If he paid me                   18   Israeli passport.
    19   about $5 million, as we had arranged on                 19           Q.   Those are two names for the same
    20   this case, in my opinion, he charged more               20   person?
    21   than double.                                            21           A.   Yes.
    22        Q.      Uh-huh. Okay.                              22           Q.   And is there any particular reason
    23                MR. BEHRE: Why don't we take               23   he has two names?
    24   our break.                                              24           A.   I don't know.
    25                THE VIDEOGRAPHER: Going off                25           Q.   What kind of work did he perform?
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     1   the record at 1:52.                                      1           A.   Work that is not connected neither
     2                (Recess from 1:52 p.m. to 3:08 p.m.         2   to Stuart nor to Beech.
     3        Israel Daylight Time.)                              3           Q.   What kind of work did he perform?
     4                THE VIDEOGRAPHER: Going back on             4           A.   Something in the medical field.
     5   record at 3:08.                                          5           Q.   Florida IP Telecom made numerous
     6   BY MR. BEHRE:                                            6   payments into this Bank of America account.
     7        Q.      Before the lunch break, we were             7                What is Florida IP Telecom?
     8   looking at Exhibit No. 5, which are the                  8           A.   It is a client from South America.
     9   bank records from the Bank of America for                9   And the work was performed in South America.
    10   Insight Analysis and Research.                          10           Q.   And it's a U.S. company located
    11                Could you pull up that exhibit             11   in Florida?
    12   again?                                                  12           A.   Apparently the payment came from
    13        A.      I have it.                                 13   an American company. The work was performed
    14        Q.      I'm going to ask you questions             14   in South America for a South America customer.
    15   about names that appear in these bank                   15           Q.   Did this work relate to Elliott
    16   records. And I can give you a page number               16   Management in Argentina?
    17   or not. But let's just kind of go one at                17           A.   No.
    18   a time and see if you recognize the name.               18           Q.   Mona Tours Ltd.
    19                Who -- who is Gordon Glaze?                19                What is Mona Tours?
    20        A.      (In English.) Gordon Glaze "ve"            20           A.   Mona Tours. It's a travel agency.
    21   Ezekiel Golan are the same people. The same --          21           Q.   And there's significant payments
    22   it's the same guy.                                      22   to Mona Tours.
    23                (Translated.) Gordon Glaze "ve"            23                What was that for?
    24   Ezekiel Golan are one and the same person.              24           A.   For flights.
    25                THE COURT REPORTER: What was the           25                MR. BEHRE: Say it again.
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     1                THE INTERPRETER: "For flights."               1   for $352,740 to Primum Viridi Navitas.
     2   BY MR. BEHRE:                                              2        A.     (In English.) No.
     3           Q.   Okay. Overseas Consulting.                    3               THE INTERPRETER: Say the number
     4           A.   Where is it?                                  4   again. Sorry.
     5           Q.   (Partially translated.) If you                5               THE WITNESS: (In English.) No.
     6   go to page 244, you'll see it.                             6               (Comment in Hebrew.)
     7                Overseas Consulting Limited made              7               THE INTERPRETER: 3,052?
     8   a payment to you of $300,000 on March 23rd,                8               MR. BEHRE: 352,740.
     9   2018.                                                      9               THE INTERPRETER: 352,740.
    10                THE INTERPRETER: Two hundred                 10               (Remainder of pending question
    11   or three hundred?                                         11        translated.)
    12                MR. BEHRE: 300,000.                          12               THE WITNESS: "Kin."
    13                (Remainder of pending question               13               (Comment in Hebrew.)
    14           translated.)                                      14               THE COURT REPORTER: I don't
    15                THE WITNESS: I don't remember.               15   have the name.
    16   But this is not connected neither to Stuart               16               THE WITNESS: (In English.)
    17   nor to Beech.                                             17   Primum --
    18   BY MR. BEHRE:                                             18               THE INTERPRETER: "Kin."
    19           Q.   Well, if you don't remember, how             19               Navitas.
    20   do you know it wasn't connected to Project                20               THE WITNESS: (In English.)
    21   Beech?                                                    21   -- Viridi --
    22           A.   Because, in the Project Beech,               22               THE INTERPRETER: (Comment in
    23   I received money only from Stuart.                        23   Hebrew.)
    24           Q.   And then, on page 248, Aviram                24               MR. BEHRE: I'll read it.
    25   Hawk Consultant, there's a payment you                    25               P-r-i-m-u-m, space, V-i-r-i-d-i,
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     1   made to him on April 26, 2018.                             1   space, Navitas, N-a-v-i-t-a-s.
     2                And as we talked about yesterday,             2               THE WITNESS: (In English.) I'm
     3   that's the account for Mr. Azari; right?                   3   trying to Google it. Maybe --
     4           A.   Correct. An account of Mr. Azari.             4               THE INTERPRETER: Primum Viridi
     5           Q.   I'm directing your attention to               5   Navitas.
     6   page 258, a $6,000 payment on June the 6th,                6   BY MR. BEHRE:
     7   2018, to Tey, T-e-y, Global Strategic.                     7        Q.     Trying to Google it.
     8                Do you know what that is for?                 8        A.     I don't remember what it is.
     9           A.   No. I don't remember.                         9               It's maybe a company in Cyprus.
    10           Q.   Were they a subcontractor on                 10   But I have to check.
    11   Project Beech?                                            11        Q.     Who is Brian Tulloch?
    12           A.   I don't recognize it. I would                12        A.     I have no clue.
    13   have to go over the invoices. But I don't                 13        Q.     If you look at the -- at page
    14   recognize it.                                             14   25, which is the bank statement for May
    15           Q.   (Not translated.) And then also              15   2019, you'll see there's two wires to him,
    16   on June the 6th, 2018, there's a $8,050                   16   one on May 6 for 64,000, one on May 14th
    17   payment to Bitachon Eintegrativi.                         17   for 75,000, and then a third on May 22nd
    18                Do you see that?                             18   for 42,000. It's Brian --
    19           A.   (Comment in Hebrew.)                         19        A.     (Comment in Hebrew.)
    20                (In English.) Which page?                    20               (In English.) Brian Tulloch.
    21                (Pending question translated.)               21               THE INTERPRETER: "Brian Tulloch,"
    22                THE WITNESS: I don't remember.               22   he says.
    23   BY MR. BEHRE:                                             23               THE WITNESS: I don't remember.
    24           Q.   (Partially translated.) And                  24   BY MR. BEHRE:
    25   then, on page 268, there's another payment                25        Q.     Before the lunch break, we talked
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     1   about Global Impact Services and its owner,             1   made into the account for Insight in the
     2   Eitan Arusy; correct?                                   2   U.S. was one for $70,000 sent by Global
     3        A.     Correct.                                    3   Impact Services.
     4        Q.     And we talked about the fact                4                Do you see that?
     5   that you were making payments to him.                   5        A.      Yes. I do see it.
     6               Do you remember that?                       6        Q.      And if you go to page 123 in
     7        A.     Yes.                                        7   November 2020, you'll see yet another
     8        Q.     Did there come a time when he               8   payment from Global Impact Services,
     9   actually started making payments to you                 9   this one for 71,000.
    10   into this account?                                     10                Do you see that on November
    11        A.     It is possible. The -- the                 11   9th, 2020?
    12   accounting between us was on a global                  12        A.      Yes, I see.
    13   level. So probably there were times                    13                At that time I believe that
    14   when he had to make payments to me.                    14   the Beech Project had already been
    15        Q.     For what reason would he be                15   completed. It was completed, I believe,
    16   making payments to you?                                16   on the -- in the beginning of 2020. And,
    17        A.     I'd -- I have to go back to                17   hence, I do not see the connection between
    18   the documents to check. But sometimes                  18   that and our investigation.
    19   I would make payments to him. Sometimes                19        Q.      Well, there's a deposit on
    20   he would make payments to me. I would                  20   November 2nd, 2020, that says it's
    21   have to check that.                                    21   coming from SDC-Gadot in your name;
    22        Q.     And was that because you were              22   right?
    23   doing work for him?                                    23                Do you see that, the -- the
    24        A.     Sometimes we did jobs together.            24   entry above that?
    25   Some of the projects we carried out                    25        A.      Of the 24 [sic]?
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     1   together.                                               1        Q.      No. November 2nd, 2020.
     2        Q.     If you look at page 109 and                 2        A.      Yes.
     3   the entries on September 8th, 2020,                     3        Q.      And why is there money moving
     4   and September 24th, 2020, you'll see                    4   from the Gadot bank account in the United
     5   two payments that he -- that that entity                5   States and you're the person initiating
     6   made to Insight's U.S. bank account. One                6   the wire? Why is there movement going
     7   entry is for $65,000. The other one's                   7   between the two U.S. entities when you
     8   for 75,000.                                             8   said they both played the same role?
     9        A.     As I've said before, sometimes              9        A.      I imagine that the finance
    10   Eitan would bring a client and I would                 10   person -- the -- the person in charge
    11   provide services. And sometimes it was                 11   of finances decided that funds should
    12   the other way around. Sometimes the                    12   be concentrated in this particular account.
    13   payment would come from the client to                  13   I do not know a specific reason. But I
    14   me and then from me to Eitan. And                      14   imagine that we could find the opposite
    15   sometimes the other way around.                        15   as well.
    16               As far as these two specific               16        Q.      When did you stop working with
    17   entries are concerned, I do not recall.                17   Stuart Page on the project?
    18        Q.     Okay. And I note that, in                  18        A.      When did you stop, you say?
    19   that month of September 2020, the only                 19        Q.      Stop. Yeah.
    20   deposits into this account were from                   20                When did your relationship --
    21   Global Impact Services; right?                         21   when did your relationship with Stuart
    22        A.     Correct.                                   22   Page end?
    23        Q.     And if you go to the next                  23        A.      In this specific project, I
    24   month, October 2020, page 117, you'll                  24   believe that -- about May 2020. But we
    25   see the same thing, that the only deposit              25   remained in contact until at least the
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     1   middle or the end of 19 -- '21.                           1   respond to that request?
     2          Q.    And why did your relationship                2        A.      I told him that he was cheeky,
     3   with Stuart Page end regarding Project                    3   impudent.
     4   Beech in May 2020?                                        4                MR. BARET: You know what is
     5          A.    When his job was interrupted                 5   chutzpah? You know what's chutzpah?
     6   or terminated, then so was mine. It's                     6                (Comment in Hebrew.)
     7   not -- the relationship did not stop.                     7                It's chutzpah.
     8   The work stopped.                                         8   BY MR. BEHRE:
     9          Q.    Uh-huh.                                      9        Q.      Did Global Impact Services play
    10                And once your relationship                  10   a role similar to the role that Stuart
    11   with Page ended, did Global Impact                       11   Page played in Project Beech?
    12   Services take over the role that Page                    12        A.      No.
    13   played?                                                  13        Q.      Did it play any role with regard
    14          A.    It's a bit of a confused question --        14   to Project Beech?
    15   confusing.                                               15        A.      They did -- they did play a role.
    16                (Comment in Hebrew.)                        16   Global was working vis-a-vis Stuart. But
    17                MR. BARET: That's not the question          17   only Stuart was in contact with the client.
    18   he asked. Answer his question.                           18        Q.      (Not translated.) With the "client"
    19                THE WITNESS: (Comment in Hebrew.)           19   being who?
    20                MR. BEHRE: Can you translate                20        A.      (In English.) The boss.
    21   that first, please?                                      21                (Translated.) The boss.
    22                THE INTERPRETER: He said that:              22        Q.      Yesterday you indicated that you
    23   "The reason that the relations between                   23   thought the ruler was worried about being
    24   Stuart and me stopped was because he                     24   overthrown.
    25   insisted that I participate in his                       25                Is that right?
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     1   legal fee -- legal -- legal expenses."                    1        A.      Correct.
     2                THE WITNESS: Whether or not                  2        Q.      And how do you know that?
     3   Global pursued the relations with him,                    3        A.      In some of Stuart's briefings
     4   I don't know.                                             4   to us, Stuart -- Stuart said that the
     5   BY MR. BEHRE:                                             5   ruler was suspecting that Khater Massaad
     6          Q.    Stuart Page asked you to help                6   was collaborating with one of his siblings,
     7   pay his legal bills?                                      7   the siblings of the boss. And he feared
     8          A.    Yes.                                         8   that this was in the context of trying
     9          Q.    What did he have legal bills for?            9   to topple him.
    10          A.    He said that he was being sued              10        Q.      And did you hear about this
    11   in many aspects, that it's very distressing              11   concern about being overthrown from Neil
    12   to him. He said -- he said that he had                   12   Gerard as well?
    13   tried twice to commit suicide. He said                   13        A.      I do not recall. But I seem
    14   that he had had himself hospitalized once                14   to remember I did hear that from Jaime.
    15   for a week and then for another week in                  15        Q.      And are you aware that some of
    16   home hospitalization and that his legal                  16   the individuals that the ruler wanted to
    17   fees are killing him.                                    17   target had been trying to bring to light
    18          Q.    And did he give you any reason              18   human rights violations by the ruler and
    19   why he thought that you should be helping                19   those working for him?
    20   pay his legal bills?                                     20        A.      I don't remember such a thing.
    21          A.    He said that he believed that               21        Q.      Now, you've testified over the
    22   I had made a lot of money from him and                   22   last two days that Stuart Page hired you,
    23   that, as a friend, I should be helping                   23   in effect, to work on Project Beech; right?
    24   him.                                                     24        A.      Correct.
    25          Q.    And did you -- how did you                  25        Q.      Who hired Stuart Page to become
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     1   involved in Project Beech?                              1               (Pending question translated.)
     2                Was it Neil Gerard?                        2               THE WITNESS: Not that I know of.
     3        A.      According -- according to Stuart           3   BY MR. BEHRE:
     4   Page, the ruler himself had hired him. And              4          Q.   Yesterday you made some serious
     5   in the first few months, he was reporting               5   allegations about Nicholas Del Rosso.
     6   only to the ruler.                                      6               Do you recall that?
     7        Q.      And what -- what happened after            7          A.   Everything I know about Nicholas
     8   the first few months in terms of who he                 8   Del Rosso comes from the legal proceedings
     9   reported to?                                            9   that I think you are carrying out against
    10        A.      After a few months, I remember            10   him.
    11   Jaime and Neil joining in the meetings.                11          Q.   What have you seen in those legal
    12                And to the instructions given to          12   proceedings?
    13   Stuart, in the beginning, he was reporting             13          A.   That he paid a sum of $1 million
    14   only to the ruler of RAK. He was traveling             14   to an Indian company that was known for
    15   there and reporting to him. And after that,            15   being a hacking company on the date of
    16   he was also reporting to Jaime and Neil.               16   the hacking and that he -- and that he
    17        Q.      Okay. And who -- who paid Page            17   received money from Dechert.
    18   for his work?                                          18          Q.   Do you know if those allegations
    19        A.      In the early years, he told us            19   are true to the best of your knowledge?
    20   that he had received money directly from               20          A.   In retrospect, it seems to be
    21   the palace, from the private accounts of               21   right.
    22   the ruler. He said he had to -- he had                 22          Q.   And why do you say, in retrospect,
    23   to submit an invoice each time anew to the             23   it seems to be right?
    24   PA of the ruler and it only went through               24          A.   Because at the time the leak
    25   them. In the very last months, I remember              25   suddenly occurred, we didn't understand
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     1   that the person who would authorize the                 1   where it had come from or why. And from
     2   invoices was Jaime.                                     2   my familiarity with the charges against
     3        Q.      And who or what entity paid Page           3   my friend Aviram, who was in jail in New
     4   for the payments that -- that Buchanan                  4   York, it appears -- appears to be -- it
     5   authorized?                                             5   seems to be a similar -- a similar M.O.
     6        A.      I don't know.                              6          Q.   And what's that M.O.?
     7        Q.      Are you aware of any corporate             7          A.   That this company Beltox (phonetic)
     8   entities that Jamie Buchanan had that                   8   or some other Indian company is hired. They
     9   he ran?                                                 9   do the hacking. And they're paid for it.
    10        A.      Do you mean companies that                10          Q.   Now, Del Rosso had a company;
    11   belonged to Jaime or companies that he                 11   right? It's called Vital Management?
    12   managed for RAK?                                       12          A.   I -- I don't know. I guess,
    13        Q.      Both.                                     13   if you say so.
    14        A.      I think he was the -- Jaime was           14          Q.   Did -- did Del Rosso write his
    15   the CEO of Rakia. And I think he also --               15   own reports regarding Project Beech?
    16   he said he also invoiced for his services.             16          A.   I don't know him. I don't know
    17   He was -- that he was a subcontractor, he              17   what he did. And I don't know what he
    18   told me.                                               18   wrote.
    19        Q.      (Not translated.) Did Jaime have          19          Q.   Did you ever receive any reports
    20   a company that was involved in balloon sales?          20   that you thought were written by Del Rosso
    21                THE INTERPRETER: Balloons like            21   or his company?
    22   birthday party balloons or hot air balloons?           22          A.   I don't know. Possibly Stuart
    23   Which one?                                             23   sent reports of that nature. But I don't
    24                MR. BEHRE: The first.                     24   recall.
    25                THE INTERPRETER: The first.               25          Q.   And if there were such reports,
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     1   Stuart would send them to you, and you'd                 1   involved in preparing this report at
     2   consider them for inclusion in your own                  2   all?
     3   report; correct?                                         3           A.   Since I didn't keep any of
     4        A.      No. Stuart would send information           4   the documents related to this case, I
     5   sometimes and ask to have that information               5   don't know. I can't find out if this
     6   included in the report. And sometimes he                 6   report is based on a report I wrote
     7   would re-write the reports himself and add               7   or whether Stuart wrote it or whether
     8   his own information. And I don't know what               8   Stuart amended it.
     9   his sources were, if it was Del Rosso or                 9           Q.   So you don't recall one way
    10   somebody else.                                          10   or the other whether you were involved
    11                (Exhibit 6 marked.)                        11   in preparing this report?
    12   BY MR. BEHRE:                                           12           A.   I do not remember.
    13        Q.      I'm showing you next what's been           13           Q.   You would agree, wouldn't you,
    14   marked as Exhibit No. 6 in this deposition.             14   that it appears to contain confidential
    15   It's entitled:                                          15   financial information to which the author
    16                "Project Beech - Financial                 16   would not have a right to; correct?
    17   Investigation Report #1."                               17           A.   I'm not sure. It could be human
    18                MR. BARET: Which one is it?                18   intelligence sources that provided this
    19                MR. BEHRE: No. 6.                          19   information. I don't know. It could be
    20                MR. BARET: Do you have a copy              20   fake.
    21   for me?                                                 21           Q.   If you look at page 8, it contains
    22                MR. BEHRE: He will when he gets            22   very specific financial information about
    23   back. I believe he went to make a copy.                 23   Khater Massaad, doesn't it?
    24                MR. BARET: Okay.                           24           A.   Yes.
    25                THE WITNESS: (Examining.)                  25           Q.   And those -- the precision
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     1   BY MR. BEHRE:                                            1   of those numbers suggest it's highly
     2        Q.      (Not translated.) Have you had              2   unlikely that a human source would be
     3   a chance to look at that report?                         3   able to provide those numbers without
     4        A.      (In English.) Yes.                          4   the aid of a bank record; right?
     5        Q.      (Not translated.) I direct your             5           A.   Unless this human source was
     6   attention to the first paragraph. And it                 6   privy to the bank records.
     7   says, quote:                                             7           Q.   Yesterday you said that Nick
     8                "The following report focuses               8   Del Rosso was working on Project Beech
     9   on the findings regarding KM's bank                      9   but he was working in parallel to you
    10   accounts as appeared in 'Vital Management               10   but on different issues.
    11   Services' (hereinafter: 'VMS') report                   11                Do you recall that testimony?
    12   dated 12.11.2014."                                      12           A.   Yes, I recall. I -- I think
    13                Do you see that?                           13   he -- he might have worked for the same
    14        A.      "Kin."                                     14   client. But I'm not sure it should be
    15                (In English.) Yes.                         15   called Project Beech. Project Beech
    16        Q.      And that would suggest that                16   was a name that Stuart made up.
    17   there was a report prepared by Del                      17           Q.   Putting aside what the name
    18   Rosso and his company, Vital Management,                18   of the project was, you indicated that
    19   concerning financial issues; right?                     19   you thought Nick Del Rosso was working
    20        A.      Based on what I'm reading                  20   in parallel but on different issues.
    21   here, yes.                                              21                What did you mean by that?
    22        Q.      Were you involved in the                   22           A.   At first, we knew that Nick
    23   preparation of this report?                             23   was involved. But I don't know if --
    24        A.      No.                                        24   how Stuart knew, if he knew it from the
    25        Q.      You're certain you weren't                 25   boss or other sources. And there were
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     1   certain aspects in the case where we were                1   called Project Beech?
     2   told: You don't have to investigate this.                2           A.   I think Stuart Page has a big
     3   It's being taken care of.                                3   ego. And if to base myself on what you
     4        Q.   And what were those other aspects              4   said yesterday, he was mad that he was
     5   that were being taken care of by others?                 5   taking away business from him.
     6        A.   One was Farhad Azima. And there                6           Q.   Do you know who worked with
     7   was another family I recall named Rothman.               7   Nick Del Rosso?
     8             THE INTERPRETER: Rothman?                      8           A.   No.
     9             THE WITNESS: Rothman.                          9           Q.   Do you know if he had any
    10             THE INTERPRETER: Rothman.                     10   employees?
    11             THE WITNESS: (Comment in Hebrew.)             11           A.   No. I don't know him. I've --
    12             THE INTERPRETER: Rothman.                     12   I've never seen him. I don't know him
    13             R-o-t-m-a-n or R-o-t-h-m-a-n.                 13   at all.
    14   BY MR. BEHRE:                                           14           Q.   Did there come a time, to the
    15        Q.   And what about Farhad Azima was               15   best of your knowledge, that Nick Del
    16   being taken care of by others?                          16   Rosso's work for the boss either was
    17        A.   They didn't tell us Farhad Azima              17   suspended or ended?
    18   was being taken care of by somebody else.               18           A.   I think -- I think that, at
    19             At first -- they didn't tell us:              19   the time that our work was terminated,
    20   You don't have to investigate Farhad Azima.             20   Stuart said that that work was also
    21             But, at first, they told us that              21   terminated. But I -- I don't really
    22   he was serving as some kind of mediator                 22   know.
    23   between RAK and Khater Massaad. And then                23           Q.   How would you describe the
    24   the trial started with this mutual accusations          24   role of Neil Gerard in Project Beech?
    25   and it wasn't necessary.                                25           A.   "Rega."
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     1        Q.   And who was this individual Rothman            1                (In English.) Wait. It cut
     2   that you mentioned?                                      2   off.
     3        A.   During the investigation, a suspicion          3                (Brief technical interruption
     4   came up regarding some kind of arms deal that            4           in the proceedings.)
     5   involved the Rothman family, some kind of --             5   BY MR. BEHRE:
     6   they were accused of some kind of fictitious             6           Q.   (Not translated.) You can go
     7   deal. And as part of the findings of the                 7   ahead. Yeah.
     8   investigation, this is something I recall.               8           A.   I think he was like the quarterback.
     9   We were told not to touch it.                            9   He was a very close advisor to the boss. I
    10        Q.   And is that because somebody else             10   think his decisions were very impactful.
    11   was going to touch it or just to stay out               11           Q.   And who reported to him regarding
    12   of it entirely?                                         12   Project Beech issues?
    13        A.   The initial question was: What                13           A.   Based on what Stuart told me and
    14   do I think Nick Del Rosso did?                          14   what I remember, there were subjects that
    15             At that time, I did not think there           15   Jaime and Stuart said to consult with Neil.
    16   was anybody else doing any investigating.               16                THE INTERPRETER: With Neil?
    17             Based on the findings in the court,           17                THE WITNESS: (Comment in Hebrew.)
    18   today I do believe that Nick Del Rosso was              18                THE INTERPRETER: (Comment in
    19   investigating.                                          19   Hebrew.)
    20        Q.   Was investigating what?                       20   BY MR. BEHRE:
    21        A.   I think he was investigating all              21           Q.   What was David Hughes' role in
    22   the matters dealing with Farhad Azima.                  22   Project Beech?
    23        Q.   Why was Stuart Page so upset that             23           A.   In my -- in my recollection, I --
    24   Nick Del Rosso was brought in to provide                24   I saw David Hughes twice. And my feeling
    25   assistance with regard to the -- what you               25   is that he was some kind of assistant for
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     1   Neil.                                                       1   Amir Handjani, who worked with Andrew Frank
     2           Q.   Did it appear to you that he was               2   at Karv, what was his role in Project Beech,
     3   subservient to Neil Gerard?                                 3   if you know?
     4           A.   I wouldn't call it subservient.                4               THE INTERPRETER: I'm sorry. I
     5   Subordinate. He was a subordinate of --                     5   didn't catch --
     6   of him, like you and you. (Indicating.)                     6               MR. BEHRE: "If you know."
     7                MR. BARET: He's actually the                   7               THE INTERPRETER: "If you know."
     8   boss. He's just --                                          8               (Pending question translated.)
     9                MR. BEHRE: Yeah. You just --                   9               THE WITNESS: I never met Andrew --
    10                MR. BARET: -- mentoring --                    10   Amir Handjani either. And towards the end
    11                MR. BEHRE: -- didn't know it.                 11   of our engagement, Stuart presented him
    12                MR. BARET: -- his work. He's --               12   as a close associate or close -- somebody
    13   just make sure --                                          13   close to the boss, consultant -- close
    14                THE INTERPRETER: The ruler.                   14   advisor of the boss.
    15                MR. BARET: -- he's doing his                  15   BY MR. BEHRE:
    16   job right. That's it.                                      16        Q.     Have you ever heard the name
    17   BY MR. BEHRE:                                              17   Brandon Neuman before?
    18           Q.   What about Andrew Frank, what was             18        A.     No.
    19   his role in Project Beech?                                 19        Q.     (Partially translated.) Have
    20           A.   I never met and never knew Andrew             20   you ever heard the name Chris Swecker
    21   Frank. I heard that he was responsible for                 21   before?
    22   the PR.                                                    22        A.     No.
    23           Q.   And what PR are you talking about?            23        Q.     (Partially translated.) Have
    24           A.   There was somebody in charge of PR.           24   you ever heard the name Linda Goldstein
    25   He was in charge of PR. I -- I did my part                 25   before?
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     1   of the project. I don't know what the other                 1        A.     No.
     2   people did.                                                 2        Q.     Yesterday you said that there
     3                MR. BEHRE: Could you just try                  3   were approximately ten meetings that you
     4   and unmute that or maybe you could help                     4   attended with Neil Gerard.
     5   him?                                                        5               And you said that one or two of
     6                THE VIDEOGRAPHER: Off the record               6   them were at the Dechert offices in London,
     7   at 4:06.                                                    7   one or two of them were at the Metropolitan
     8                (Recess from 4:06 p.m. to 4:07 p.m.            8   Hotel where you were staying at the time,
     9           Israel Daylight Time.)                              9   and there were another ten times or so
    10                THE VIDEOGRAPHER: Back on the                 10   when you met with him.
    11   record at 4:07.                                            11               Do you recall that testimony?
    12   BY MR. BEHRE:                                              12        A.     (Translated.) I recall that
    13           Q.   Okay. We're talking about the                 13   I said that we had a total of about ten
    14   PR effort that Andrew Frank was apparently                 14   meetings.
    15   making.                                                    15               Yes, we met at Dechert once
    16           A.   Is there a question?                          16   or twice, in Cyprus, in Switzerland with
    17           Q.   No. I'm just trying to start                  17   Stuart, at the Metropolitan --
    18   back up where we were.                                     18               (In English.) To Stuart's office.
    19                Did that PR include some of the               19               (Translated.) -- at that club --
    20   negative press that came out about Farhad                  20               THE INTERPRETER: Sorry?
    21   Azima?                                                     21               THE WITNESS: (Translated.)
    22           A.   I don't know. I never had a                   22   -- at Stuart's --
    23   meeting or was present at a meeting with                   23               (In English.) Office.
    24   Andrew Frank.                                              24               (Translated.) -- office, at
    25           Q.   (Not translated.) And what about              25   the Metropolitan, at that club with Jaime.
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     1   Might have been a little more than ten.                      1   all that litigation that you mentioned.
     2   BY MR. BEHRE:                                                2               Regarding the torture litigation,
     3        Q.      And you mentioned meetings or                   3   I don't know anything at all about that.
     4   a meeting at Page's offices.                                 4   BY MR. BEHRE:
     5                Where were they located?                        5        Q.     So the comments you just made
     6        A.      (Comment in Hebrew.)                            6   concern the Azima litigation; right?
     7                THE INTERPRETER: You asked about?               7        A.     Yes. The Azima case.
     8                MR. BARET: Stuart's office.                     8               I imagine that you're relating
     9                THE WITNESS: (In English.) Stuart               9   to the torture that came up as a subject
    10   office.                                                     10   in the trial of Karam Sadaq?
    11                THE INTERPRETER: Page's office.                11        Q.     Yes.
    12   I'm sorry.                                                  12        A.     So on that litigation, we learned
    13                THE WITNESS: (In English.) Page                13   from the meeting held by Stuart with Paul
    14   office.                                                     14   Robinson.
    15                THE INTERPRETER: Yeah.                         15        Q.     Is it true that Neil Gerard became
    16                THE WITNESS: I think -- I think                16   very interested, as -- as did the boss, in
    17   it was somewhere near the -- near Buckingham                17   finding out who was funding this litigation?
    18   Palace, near the Taj Hotel. That's where                    18   And, therefore, he asked Stuart Page to
    19   I was staying. That's where the -- the                      19   find out who was funding it?
    20   offices were at that time.                                  20        A.     My -- my feeling is that Stuart
    21                He used to switch offices every                21   was deeply offended that he was not entrusted
    22   year. Each time he tried to find something                  22   with that investigation and he had heard
    23   cheaper. In the end, he ended up near some                  23   about it because he was a personal friend
    24   church somewhere, some corner.                              24   of Paul Robinson's father.
    25                THE INTERPRETER: "In some church."             25               And I believe he was extremely
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     1   BY MR. BEHRE:                                                1   angry at Neil for not entrusting him with
     2        Q.      (Partially translated.) Did there               2   that investigation. I don't think he ever
     3   come a time in 2019 when there was a great                   3   investigated it. And at this stage, they
     4   deal of interest by the boss in Neil Gerard                  4   had asked -- by that time, they had asked
     5   and others about who was funding both the                    5   Stuart to stop contacting them.
     6   Azima litigation and the torture litigation                  6        Q.     Are you aware that Stuart Page
     7   brought by victims of torture at the hands                   7   met with Neil Gerard and Amir Handjani
     8   of RAK?                                                      8   at the Royal Automotive Club in London
     9                THE COURT REPORTER: Say the end.                9   about this very issue, who was funding
    10   I'm sorry. Torture litigation?                              10   the litigation?
    11                THE INTERPRETER: "Tort" or "torture"?          11        A.     No.
    12                MR. BEHRE: Involving those tortured --         12               When was it?
    13                THE INTERPRETER: "Torture."                    13        Q.     During the Azima litigation.
    14                MR. BEHRE: -- at the hands of RAK.             14        A.     No, I did not know that this
    15                (Pending question fully translated.)           15   subject was debated.
    16                THE WITNESS: Since the meeting                 16        Q.     Did you prepare any report
    17   with Alex Ibragimov and Dimitri, who                        17   regarding who was funding that litigation?
    18   represented himself as -- as representing                   18        A.     Not that I recall.
    19   Alpha but really represented -- he worked                   19        Q.     Did you perform any surveillance
    20   in a place called Alpha Group. But he was                   20   in Dubai on behalf of anyone for Project
    21   actually running or managing the entire                     21   Beech?
    22   strategic file of ENRC.                                     22        A.     No.
    23                And since that, it was -- the                  23        Q.     Have you ever been to RAK?
    24   prevalent opinion among us was that it                      24        A.     No.
    25   was ENRC that was behind the funding of                     25               The first time I flew to Dubai
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     1   was after the project had ended.                            1   provided services that do not relate to
     2           Q.   (Not translated.) Were you                     2   my work.
     3   involved in surveillance that was conducted                 3        Q.     Did your Insight entity ever
     4   on the Stokoe legal team in the U.K.?                       4   have a website?
     5           A.   (Comment in Hebrew.)                           5        A.     I don't think so.
     6                THE INTERPRETER: Stoke legal                   6        Q.     Did anybody make efforts to
     7   team?                                                       7   scrub any mention of Insight from the
     8                MR. BEHRE: S-t-o-k-o-e. Stokoe.                8   Internet?
     9                THE INTERPRETER: Okay.                         9        A.     I have no clue.
    10                (Pending question translated.)                10        Q.     Have you ever attempted to
    11                THE WITNESS: No.                              11   reduce the profile of any entity you're
    12   BY MR. BEHRE:                                              12   involved in by attempting to manipulate
    13           Q.   Do you know who Radha Stirling                13   the Internet so that searches for those
    14   is?                                                        14   companies would not be so fruitful?
    15           A.   No.                                           15        A.     No.
    16                (Comment in Hebrew.)                          16               But I don't possess a website
    17                THE INTERPRETER: "What is the                 17   for my companies. So there's nothing
    18   name again," he asked.                                     18   to reduce or remove.
    19   BY MR. BEHRE:                                              19               MR. BEHRE: I think Ian has
    20           Q.   Radha Stirling.                               20   gone out to get copies of the records
    21           A.   No.                                           21   that you brought. So we'll just need
    22           Q.   Earlier we talked about an entity             22   to take a couple-minute break until he
    23   called Insight GSIA Limited, which is a BVI                23   comes back. We're getting close to done.
    24   corporation.                                               24   So ...
    25                Do you remember that discussion?              25               THE VIDEOGRAPHER: Going off the
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     1           A.   Yes.                                           1   record at 4:25.
     2           Q.   And at that time -- maybe I got                2               (Recess from 4:25 p.m. to 4:40 p.m.
     3   it wrong -- you indicated you -- you didn't                 3        Israel Daylight Time.)
     4   know anything about this entity; is that                    4               THE VIDEOGRAPHER: Going on record
     5   right?                                                      5   at 4:40.
     6           A.   No. I did not say that.                        6               (Exhibit 7 marked.)
     7           Q.   I'm sorry.                                     7   BY MR. BEHRE:
     8                Are you familiar with that entity?             8        Q.     I'd like to next show you
     9           A.   Yes. I did say that this was a                 9   Exhibit 2, which is the set of Insight
    10   company owned by Effi Lavie.                               10   Analysis and Research LLC invoices you
    11           Q.   And you had no interest in it?                11   brought to your deposition today. And
    12           A.   No.                                           12   I'd also like to give you another exhibit
    13           Q.   And are you aware that Insight                13   we're marking as Exhibit 7, which is a --
    14   GSIA Limited provided Project Beech                        14   another packet of Insight Analysis and
    15   assistance to Stuart Page?                                 15   Research LLC invoices as well.
    16           A.   It's possible, yes.                           16               And I want to direct your
    17           Q.   Are you familiar with a company               17   attention to Invoice 1036 in both packets.
    18   called Sublime Solutions Innovations and                   18   Okay? So just get 1036 in the version
    19   Trade?                                                     19   you brought and 1036 in the version of
    20           A.   Not that I recall. No.                        20   the other exhibit.
    21           Q.   Would it surprise you that they               21               Do you have both of those
    22   provided Project Beech services to Stuart                  22   exhibits opened to Invoice 1036?
    23   Page?                                                      23        A.     (Examining.) Yes.
    24           A.   As I've said before, Stuart Page              24        Q.     And while they're both labeled
    25   utilized numerous subcontractors and also                  25   Invoice 1036, they appear to be different
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     1   in that they -- each one has a different                    1               Did you do that?
     2   logo. So they're not identical copies.                      2               THE INTERPRETER: From the --
     3                Do you see that?                               3               THE WITNESS: (Comment in Hebrew.)
     4           A.   Yes.                                           4               THE INTERPRETER: -- Israeli agency.
     5           Q.   Can you explain why that is?                   5               (Comment in Hebrew.)
     6           A.   No.                                            6               THE WITNESS: (Comment in Hebrew.)
     7           Q.   Was there ever a case where                    7               THE INTERPRETER: You mean the
     8   invoices were re-written or edited after                    8   Ministry?
     9   they were issued?                                           9               MR. BEHRE: Yes.
    10           A.   There were cases where Stuart                 10               (Remainder of pending question
    11   delayed payment or he asked us to re-send                  11          translated.)
    12   an invoice and we may have used a different                12               THE WITNESS: I put in a request.
    13   software. But I see that the amount is the                 13   And as soon as it comes, I will send it
    14   same in both of them. So I don't see that                  14   to you.
    15   there's any problem in this.                               15   BY MR. BEHRE:
    16           Q.   Okay. Would you do the same thing             16          Q.   Okay. And you also said you'd
    17   with Invoice No. 1038.                                     17   look at your WhatsApp for more communications
    18                Do you have that in front of you,             18   with Stuart Page; right?
    19   1038?                                                      19          A.   I scanned through my phone. I
    20           A.   (In English.) Yes.                            20   couldn't find any. But I may have it on
    21                (Translated.) Yes.                            21   other phones. So I'll look.
    22           Q.   Now, it appears that there's a --             22          Q.   How many phones do you have?
    23   in the set you brought today, there's an                   23          A.   I have one phone. But I replace
    24   additional invoice labeled 1038. And then,                 24   it every year. And when you replace it,
    25   in handwriting, an "A" is placed after it                  25   I -- when I replace it, I don't back up
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     1   and it's for a different amount than 1038.                  1   the WhatsApps.
     2                Do you see that?                               2          Q.   How did you communicate with
     3           A.   That's right. 1038A is for the                 3   Neil Gerard?
     4   same amount. And 1038 is for a different                    4          A.   Via Stuart.
     5   amount.                                                     5          Q.   Did you ever text him or e-mail
     6           Q.   Correct.                                       6   him?
     7                And can you explain why there's                7          A.   No.
     8   a one oh -- 1038 and a 1038A?                               8          Q.   Did you ever use WhatsApp or
     9           A.   I'm trying to look at the deposit              9   a -- or a method like that to communicate
    10   of the money. I think I must have given                    10   with him?
    11   them another invoice that Stuart didn't                    11          A.   No.
    12   issue, wherever they got it from. Because                  12          Q.   What about Jamie Buchanan, how
    13   I see a payment of $250,000 for the invoice.               13   did you communicate with him?
    14   I think mine is more precise because there's               14          A.   With Signal. It's an application
    15   a deposit of 250,000 and a deposit of 300,000 --           15   called Signal.
    16           Q.   So --                                         16          Q.   Any other way?
    17           A.   -- one in August and one in July.             17          A.   Not with Jaime. I don't think
    18           Q.   So both were paid?                            18   so.
    19           A.   Based on what I see here in the               19          Q.   Did you use Signal for other
    20   Bank of America, yes.                                      20   communications involving Project Beech?
    21           Q.   (Partially translated.) Okay.                 21          A.   I -- I would assume that I did.
    22   Yesterday you said you were going to obtain                22          Q.   With who?
    23   and give us a copy of your travel records                  23          A.   With Stuart. With employees
    24   that you got from the Israeli agency that                  24   from my firm sometimes.
    25   provides that.                                             25          Q.   What other apps do you use to
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     1   communicate?                                               1        A.      Yes. But they're also subjects
     2          A.   We once used Silent Circle and                 2   that they raised.
     3   Wire. Today we use a phone that we have                    3        Q.      Did you ever attend any meetings
     4   developed for ourselves.                                   4   in the U.S. about Project Beech?
     5          Q.   And would you also please look                 5        A.      Other than the meeting with Jaime
     6   at your Signal communications with Jamie                   6   that I described earlier, I don't recall
     7   Buchanan and, if they concern Project                      7   any others.
     8   Beech, provide them to us?                                 8                MR. BEHRE: We need a two-minute
     9          A.   There's nothing there. It's                    9   break. Sorry.
    10   programmed to disappear after one week.                   10                THE VIDEOGRAPHER: Going off the
    11          Q.   Let me ask you to take out                    11   record at 4:56.
    12   Exhibit No. 6 again. It's the project                     12                (Recess from 4:56 p.m. to 5:00 p.m.
    13   update we looked at previously.                           13        Israel Daylight Time.)
    14          A.   "Kin."                                        14                THE VIDEOGRAPHER: Back on record
    15          Q.   I know that you said you didn't               15   at 5:00 o'clock.
    16   recognize that report.                                    16   BY MR. BEHRE:
    17               But is that in the format that                17        Q.      Mr. Forlit, were you involved
    18   your reports were done regarding Project                  18   in any investigation of Karam Al Sadeq?
    19   Beech? So in other words, the -- the                      19        A.      No.
    20   pagination or the font or the lettering,                  20        Q.      Dima Al Sadeq?
    21   that type of thing, does it look like                     21                THE COURT REPORTER: "Dima"
    22   it's in a similar style as the reports                    22   or "Dena"?
    23   you did create?                                           23                MR. BEHRE: Dima.
    24          A.   Yes.                                          24                THE INTERPRETER: Dima.
    25          Q.   And what is it that's -- that                 25                THE WITNESS: No.
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     1   looks familiar?                                            1   BY MR. BEHRE:
     2          A.   The way the report is set up.                  2        Q.      Jihad Quzmar?
     3          Q.   Who besides Stuart Page received               3        A.      No.
     4   your reports?                                              4        Q.      Did you do, prior to 2015, any
     5          A.   To the best of my knowledge,                   5   other work regarding any other RAK-related
     6   Stuart Page. Maybe other people in his                     6   matters besides Project Beech?
     7   firm got it, that helped him.                              7        A.      In 2008, I worked for Rafi, who
     8          Q.   Do you know who he distributed                 8   was working for Stuart concerning some
     9   the reports to?                                            9   aspects related to the case.
    10          A.   No.                                           10        Q.      Did that involve Sheikh Khaled?
    11          Q.   Did you ever discuss that with                11        A.      "Kin."
    12   him?                                                      12                THE INTERPRETER: "Khaled"?
    13          A.   He sometimes mentioned that he                13                THE WITNESS: "Khaled."
    14   passed it on to Neil or to Jaime. But                     14                MR. BEHRE: "Khaled."
    15   it never was a subject that was discussed.                15                THE INTERPRETER: "Yes."
    16          Q.   Okay. Did you ever get any                    16   BY MR. BEHRE:
    17   feedback from Jamie Buchanan or Neil                      17        Q.      What about Sheikh Faisal?
    18   Gerard that made you think they'd                         18        A.      I don't recall.
    19   actually read your reports?                               19                THE INTERPRETER: "I don't
    20          A.   At the meetings that I was                    20   remember that."
    21   present together with them, I -- I could                  21                Sorry.
    22   understand that they had read the reports.                22   BY MR. BEHRE:
    23          Q.   Because the reports contained                 23        Q.      And did that involve the -- the
    24   information that became the basis for                     24   potential overthrow of the Sheikh, of the --
    25   discussion at the meetings; right?                        25   of the ruler?
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     1        A.      No. There was -- there was no                   1                    CERTIFICATE OF REPORTER
     2   potential overthrow at that time. There                      2
     3   were two princes fighting over who was                       3                I, BRENDA MATZOV, CSR NO. 9243, do
     4   going to be the king. There wasn't any                       4   hereby certify:
     5   overthrow.                                                   5                That, prior to being examined, the
     6                MR. BEHRE: Okay. I have no                      6   witness named in the foregoing deposition was
     7   further questions. Thank you.                                7   asked to acknowledge that their testimony will
     8                THE VIDEOGRAPHER: That concludes                8   be true under the penalties of perjury and will
     9   the deposition of Amit Forlit at 5:03.                       9   be the truth, the whole truth, and nothing but
    10                (Brief pause in the proceedings.)              10   the truth.
    11                THE VIDEOGRAPHER: Back on record               11                That the foregoing deposition was taken
    12   at 5:03.                                                    12   before me, at which time the aforesaid proceedings
    13                                                               13   were stenographically recorded by me and thereafter
    14                          EXAMINATION                          14   transcribed by me;
    15   BY MR. BARET:                                               15                That the foregoing transcript, as typed,
    16        Q.      Amit, were you ever asked to                   16   is a true record of the said proceedings;
    17   investigate Farhad Azima?                                   17                And I further certify that I am not
    18        A.      No.                                            18   interested in the action.
    19        Q.      Did you ever author or somebody                19
    20   under you author any reports regarding                      20                Dated this 30th day of July, 2022.
    21   Farhad Azima?                                               21
    22        A.      No.                                            22                _________________________________________
                                                                                       BRENDA MATZOV, CSR NO. 9243
    23        Q.      After you provided the report                  23
    24   to Stuart, did you have any control over                    24
    25   what was added to the report?                               25
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     1        A.      No.                                             1                     CERTIFICATE OF WITNESS
     2        Q.      Before Stuart provided a report                 2
     3   or -- or forwarded it to the client, did                     3             I, AMIT FORLIT, witness herein, do
     4   he ever share with you the final version                     4   hereby certify and declare the within and
     5   of the report that was produced to the                       5   foregoing transcription to be my examination
     6   client?                                                      6   under oath in said action taken on July 21,
     7        A.      No.                                             7   2022, with the exception of the changes
     8                MR. BARET: No further questions.                8   listed on the errata sheet, if any;
     9                THE VIDEOGRAPHER: That concludes                9             That I have read, corrected, and
    10   the deposition of Amit Forlit at 5:05.                      10   do hereby affix my signature under penalty
    11                (The deposition concluded at 5:05 p.m.         11   of perjury to said examination under oath.
    12        Israel Daylight Time.)                                 12
    13                                                               13
    14                                                               14
    15                                                               15
    16                                                               16   ____________________________________       _____________
                                                                                  AMIT FORLIT, Witness                    Date
    17                                                               17
    18                                                               18
    19                                                               19
    20                                                               20
    21                                                               21
    22                                                               22
    23                                                               23
    24                                                               24
    25                                                               25
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     1                         ERRATA SHEET
     2   Case:       FARHAD AZIMA vs. INSIGHT ANALYSIS AND
     3               RESEARCH LLC AND SDC-GADOT LLC
     4   Date:       JULY 21, 2022
     5   Witness: AMIT FORLIT
     6
     7   Page _____ Line _____ Change _______________________
     8   Reason _____________________________________________
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    22   Reason _____________________________________________
    23
         ____________________________________     _____________
    24           AMIT FORLIT, Witness                  Date
    25
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